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               IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA
                         ALEXANDRIA DIVISION


UNITED STATES OF AMERICA          )
                                  )
v.                                ) CRIMINAL ACTION NO. 05-53 (GBL)
                                  )
AHMED OMAR ABU ALI,               )
                                  )
           Defendant.             )
                                  )
                                  )

                          MEMORANDUM OPINION

     THIS MATTER is before the Court on the Defendant Ahmed Omar

Abu Ali’s Motion to Suppress and Motion to Dismiss.

     The defendant, Mr. Ahmed Omar Abu Ali, is charged under

various statutes that preclude a citizen from rendering, or

conspiring to render, assistance or support to a designated

foreign terrorist organization.       Mr. Abu Ali is charged with

joining Al-Qaeda and participating in a plan to carry out

terrorist activities within the United States, including a

conspiracy to assassinate the President of the United States.1



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      The defendant, Mr. Abu Ali, is charged with the following
offenses: Conspiracy to Provide Material Support and Resources to
a Designated Foreign Terrorist Organization (Al-Qaeda), 18 U.S.C.
§ 2339B (Count 1); Providing Material Support and Resources to a
Designated Foreign Terrorist Organization (Al-Qaeda), 18 U.S.C. §
2339B (Count 2); Conspiracy to Provide Material Support to
Terrorists, 18 U.S.C. § 2339A (Count 3); Providing Material
Support to Terrorists, 18 U.S.C. § 2339A (Count 4); Contribution
of Services to Al-Qaeda, 50 U.S.C. § 1705(b); 31 C.F.R. § 595.204
(Count 5); Receipt of Funds and Services from Al-Qaeda, 50 U.S.C.
§ 1705(b); 31 C.F.R. § 595.204 (Count 6); Conspiracy to
Assassinate the President, 18 U.S.C. § 1751 (Count 7); Conspiracy
to Commit Aircraft Piracy, 49 U.S.C. § 46502(a)(2) (Count 8); and
Conspiracy to Destroy Aircraft, 18 U.S.C. § 32(b)(4) (Count 9).
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     Mr. Abu Ali was arrested on June 8, 2003, in Saudi Arabia by

the Saudi government in connection with an investigation of the

Riyadh bombings that occurred in May, 2003.         In his Motion to

Suppress, Mr. Abu Ali asserts two principal arguments.           First, he

alleges that he was tortured while in Saudi custody and that the

statements he allegedly made in detention are, therefore,

involuntary and must be suppressed.       Second, Mr. Abu Ali contends

that the United States and the Saudi Government acted as partners

or “joint venturers” in his arrest and lengthy detention in Saudi

Arabia.   He also argues that the Saudi government’s search of his

dormitory room in Medina and the search of his residence in Falls

Church, Virginia, violated his Fourth Amendment rights against

unreasonable searches and seizures.       In his Motion to Dismiss,

Mr. Abu Ali contends that because his arrest and lengthy

detention were at the direction of the United States Government

using the Saudi Arabia Government as a partner, joint venturer,

or surrogate, the Indictment must be dismissed because the delay

in his prosecution violates the Speedy Trial Act and his Sixth

Amendment right to speedy trial.

     The issues presented by these motions are set forth below.

The defendant’s motions are all denied because the Court, after

having heard nearly fourteen days of testimony, is persuaded that

the government has met its burden of proving that Mr. Abu Ali’s

statements were voluntary, and that the alleged defects in the

aforementioned searches and Indictment do not violate Mr. Abu

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Ali’s rights under the Fourth or Sixth Amendments.

     With regard to the defendant’s Motion to Suppress, the

issues before the Court are:      (1) whether any incriminating

statements allegedly made by the defendant during his time in

Saudi Arabia were made “involuntarily” as a result of “gross

abuse” and “inherently coercive conditions” and are therefore

inadmissible under the Due Process Clause of the Fifth Amendment;

(2) whether any incriminating statements allegedly made by the

defendant were obtained by U.S. and Saudi officials in a manner

that “shocks the conscience” of the Court and are therefore

inadmissible under the Due Process Clause of the Fifth Amendment;

(3) whether any incriminating statements allegedly made by the

defendant during his time in Saudi Arabia were obtained through

custodial interrogations either (a) by United States and Saudi

officials acting together in a “joint venture” or (b) by Saudi

officials acting as “agents” of the United States, and are

therefore inadmissible because the defendant was not afforded his

rights under Miranda v. Arizona, 384 U.S. 436 (1966); (4) whether

the search of the defendant’s dorm room in Medina, Saudi Arabia,

conducted by Saudi officials was unlawful because it lacked

probable cause and therefore any evidence seized in that search

should be suppressed; (5) whether the search of the defendant’s

home in Falls Church, Virginia, was authorized pursuant to

information obtained from an unlawful interrogation of the

defendant and therefore any evidence seized in that search should

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be suppressed.

     The Court denies the defendant’s Motion to Suppress because

it finds:   (1) that the government has demonstrated by a

“preponderance of the evidence” that any incriminating statements

allegedly made by the defendant were “voluntary” and not the

result of “gross abuse” or “inherently coercive conditions” and

therefore that the statements are admissible evidence for trial;

(2) that neither the conduct of U.S. nor Saudi law enforcement

officials in the arrest, detention, or interrogation of the

defendant “shocks the conscience” of the Court; (3) that (a) U.S.

law enforcement officials did not act in a “joint venture” with

Saudi officials in the arrest, detention, or interrogation of the

defendant and (b) Saudi law enforcement officials did not act as

agents of U.S. law enforcement officials, and therefore Miranda

warnings were not required; (4) that Saudi law enforcement

officials did not act in a “joint venture” with U.S. law

enforcement officials when conducting their search of the

defendant’s dorm room in Medina, Saudi Arabia, and therefore that

the Fourth Amendment is inapplicable to that search; (5) that

there is no evidence that the warrant underlying the search of

the defendant’s home was unlawful or lacked probable cause.

     With regard to the defendant’s Motion to Dismiss, the issues

before the Court are:     (1) whether the conduct of United States

and/or Saudi law enforcement officials in the detention and

interrogation of the defendant “shocks the conscience” of the

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Court in violation of the Due Process Clause of the Fifth

Amendment and thus requires the Court to divest itself of

jurisdiction and dismiss the Indictment; (2) whether the current

prosecution of the defendant, following his two-year detention in

Saudi Arabia, violates the Speedy Trial Act, 18 U.S.C. § 3161(b)

(2000), and therefore requires dismissal of the Superseding

Indictment; (3) whether the current prosecution of the defendant,

following his two-year detention in Saudi Arabia, violates the

defendant’s Sixth Amendment right to a speedy, public trial and

therefore requires dismissal of the Superseding Indictment; (4)

whether the current prosecution of the defendant is a

“presumptively vindictive response” to the habeas corpus petition

filed by his parents on July 28, 2004, and therefore violates the

defendant’s due process rights under the Fifth Amendment.

     The Court denies the defendant’s Motion to Dismiss because

it finds:   (1) that neither the conduct of U.S. nor Saudi law

enforcement officials in the arrest, detention, or interrogation

of the defendant “shocks the conscience” of the Court; (2) that

the government complied with the Speedy Trial Act because the

criminal Indictment against the defendant was filed prior to his

being taken into federal custody on federal charges, and

therefore was filed within thirty (30) days of his arrest on

federal charges as required by the statute; (3) that the Sixth

Amendment right to speedy trial does not attach until the

defendant has been indicted or arrested, and the defendant has

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not been prejudiced by any pretrial delay since the time of his

indictment on federal charges on February 3, 2005, and his

subsequent arrest on February 21, 2005; (4) the current

prosecution is within the prosecutorial discretion of the

government and the defendant has not advanced sufficient evidence

to establish prosecutorial vindictiveness on the part of the

government.

     For the foregoing reasons, the Court denies the defendant’s

Motion to Suppress and Motion to Dismiss.



                             I. BACKGROUND

A.   Statement of the Case

     On June 8, 2003, the defendant, Mr. Ahmed Omar Abu Ali, who

is an American citizen from Falls Church, Virginia, was arrested

in Medina, Saudi Arabia, based on information obtained by Saudi

law enforcement officials that he was a suspected member of the

al-Faq’asi terrorist cell located in Saudi Arabia.          The

defendant, who at the time was a student in Saudi Arabia, was

held in Medina by the Saudi national security police, known as

“the Mabahith,” for several days, and his dorm room in Medina was

searched by Saudi law enforcement officials.         Following his

detention in Medina, Mr. Abu Ali was transported to a Saudi

detention facility in Riyadh, Saudi Arabia.

     While at the facility in Riyadh, the defendant, upon

interrogation by Saudi officials, allegedly made a number of

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incriminating statements regarding his involvement with a number

of terrorist plots.     The Mabahith agreed to a U.S. government

request to allow the Federal Bureau of Investigation (“FBI”) and

the U.S. Secret Service (“Secret Service”) to provide questions

for the defendant and to observe an interrogation of him through

a two-way mirror.    On June 15, 2003, FBI officials observed the

defendant when he was interrogated yet again by Saudi law

enforcement officials and allegedly made more incriminating

statements and admissions.      On July 18, 2003, the defendant

allegedly made out a handwritten confession which he was

videotaped reading on July 24, 2003.

     In September 2003, the FBI interrogated the defendant

without giving him Miranda warnings.       Although Mr. Abu Ali

allegedly made incriminating statements during the course of

those interrogations, the government has indicated that it does

not plan to use any statements obtained from those interrogations

in its case-in-chief.

     The defendant, through his Motion to Suppress and Motion to

Dismiss, moves the Court to exclude all of the incriminating

statements allegedly made by him because he alleges, among other

things, that he was (1) tortured by Saudi officials to elicit

those statements and (2) denied his constitutional rights under

Miranda.

     Among his allegations of torture, the defendant maintains

that Saudi officials:     (1) “whipped” him on his back; (2) slapped

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him in the face and pulled on his beard, ears, and hair; (3)

kicked him in the stomach; (4) subjected him to sensory

deprivation by placing him in a cell that was fully and

continually lit and by interrogating him an excessive number of

times, typically beginning late at night and continuing into the

following morning; (5) chained him to the ground so that he was

forced to stay in a crouching position; and (6) chained him with

his hands above his head for a long period of time.



B.   Findings of Fact and Conclusions of Law in Support of the

     Court’s Rulings

     In ruling upon the Motion to Suppress and the Motion to

Dismiss, the Court is called upon to review all of the evidence

presented in the case, including witness testimony, and to make

findings of fact and conclusions of law concerning a number of

issues.   In this case, the Court must make a primary

determination as to whether the incriminating statements

allegedly made by the defendant were made “voluntarily” and

therefore whether those statements will be admissible evidence at

trial.

     The Court makes the following findings of fact and

conclusions of law after having had an opportunity to consider

the witnesses’ testimony, consider their demeanor on the stand,

and observe the contrasts in their demeanor and the consistencies

and inconsistencies in their testimony.        The Court will not

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summarize in detail all of the various witnesses’ testimony in

this Opinion.    Instead, the Court will make a general review of

the facts pertinent to the Motion to Suppress and the Motion to

Dismiss.



     1. The Government’s Evidence Surrounding the Defendant’s

     Arrest and Detention.

     Prior to the suppression hearing, the Court heard seven (7)

days of live testimony from several Saudi government officials

who were involved in the arrest and detention of Mr. Abu Ali.

The witnesses appeared via satellite realtime video and audio

transmission from Saudi Arabia to the federal courthouse in

Alexandria pursuant to Federal Rule of Criminal Procedure 15 and

a protective order.     For security reasons, the witnesses were

permitted to testify under oath via pseudonyms on a split screen

television set up where they could be observed and heard by the

defendant, his counsel, and prosecutors in Alexandria, Virginia.

The court reporter in Alexandria made a realtime transcription of

the testimony.    Simultaneously, defense counsel, prosecutors, and

an Arabic translator were present with the witnesses in Saudi

Arabia.

     First, the Saudi government officials (hereinafter

“Government officials”) testified that two compounds in Riyadh

were bombed, killing thirty-nine (39) people, including nine (9)

Americans.   The Government officials investigated this terrorist



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incident and developed a list of the nineteen (19) “most wanted”

individuals alleged to be associated with the bombing and the

terrorist group Al-Qaeda.      Government officials reported that a

detained suspect whom they had questioned identified “Reda” as a

member of the Al-Qaeda cell who remained at large.          This suspect

later identified a photograph of Mr. Abu Ali from a Medina

University student photo book.       The suspect said that “Reda” was

a student at the Islamic University and was an American or

European citizen of Arabian background.          He stated that “Reda”

was either Syrian or Jordanian.

     Government officials then received an order to arrest

“Reda,” and they went to the Islamic University and met with

university officials to locate “Reda.”          The Government officials’

order was to arrest “Reda” and to search him and his belongings.

Later a written order was issued.          The Arresting Officer

testified that his orders did not include interrogating the

suspect.   Rather, he was only to arrest, search, detain, and send

“Reda” to Riyadh for interrogation.

     The Arresting Officer went to Mr. Abu Ali’s classroom after

being directed there by the school registrar.          The Arresting

Officer said he did not go inside the classroom.          He asked a

university official to ask Mr. Abu Ali to come outside the

classroom building.     Mr. Abu Ali exited the classroom building

where seven government officers were present.          The government

officers were not wearing police uniforms nor displaying weapons.

The Arresting Officer testified that he told Mr. Abu Ali that the

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officers had a subject they wanted to talk to him about.           The

Arresting Officer put his hand on Mr. Abu Ali and escorted him to

the waiting police cars.      Mr. Abu Ali was handcuffed as he got

into the car.    Mr. Abu Ali rode in the backseat of a car between

two officers.    Mr. Abu Ali was taken to his dormitory room where

his belongings were gathered up.           Mr. Abu Ali was not mistreated

in the car.

     At Mr. Abu Ali’s dormitory room, the Government officials

searched the room and gathered his belongings.          Mr. Abu Ali was

present and pointed out his belongings to the Government

officials.    Ex. 27 at 87 (July 11, 2005 hearing).        The Arresting

Officer testified that it is customary in Saudi Arabia to search

a suspect’s residence when the suspect is taken in for

questioning.    Mr. Abu Ali was then transported to the Medina

field office detention center.       The Arresting Officer denies

using or observing anyone else using physical force of any kind

against Mr. Abu Ali.     The Arresting Officer denied having any

orders to beat Mr. Abu Ali, to whip him, or to apply any physical

force to him.    The Arresting Officer testified that they have

orders not to use force against suspects, but to treat them with

respect.   He reported that Mr. Abu Ali was treated with respect

and that Mr. Abu Ali did not resist and was respectful.           Mr. Abu

Ali’s testimony on his treatment up to the time he arrived at the

Medina facility is consistent with the testimony of the Arresting

Officer.

     The Arresting Officer was specifically questioned about

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whether the United States government provided his government with

information about “Reda” or Mr. Abu Ali, or if the United States

government or law enforcement was involved in supplying

information to arrest Mr. Abu Ali, and the Arresting Officer said

“no.”   None of the Saudi government officials or the FBI agents

who testified offered evidence that the United States was

involved in the Saudi government’s decision to arrest and to

detain Mr. Abu Ali.



     2. Mr. Abu Ali’S Detention in Medina, Saudi Arabia.

     The Lieutenant Colonel-Warden (“Lieutenant Colonel,”

“Warden”) of the Medina facility where Mr. Abu Ali was detained

adamantly denied that Mr. Abu Ali was tortured, beaten, deprived

of sleep, or questioned in Medina. He stated that the Government

has a policy against torture and physical abuse of prisoners or

suspects, and that the policy is enforced.         He denied that Mr.

Abu Ali was abused at the Medina detention facility.

     The Warden described the detention facility as a residential

type building.    Each cell has a bed, mattress, blanket, pillow,

prayer rug, and a Koran.      The Warden testified that for the first

two days or so, lights are kept on at all times and there are

cameras in each room so the guards can observe the prisoners.

There are no tapes of Mr. Abu Ali’s stay because the tapes are

routinely recorded over.      Three meals are provided each day, and

prisoners can select from several meal choices.          Because there is

no kitchen in the building, the prison has to send out for food

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for the facility.



     3. Saudi Officials Deny that Mr. Abu Ali was Interrogated in

     Medina, Saudi Arabia.

     The Lieutenant Colonel testified that he was not ordered to

question Mr. Abu Ali and that neither he nor anyone on his staff

interrogated Mr. Abu Ali in Medina.        He stated that when he first

observed Mr. Abu Ali two hours after he had entered the prison,

he did not see any bruises or signs that Mr. Abu Ali was in

distress.    The Lieutenant Colonel’s testimony held up under

cross-examination, and the Court finds no reason to discredit his

testimony.



     4. Mr. Abu Ali’s Detention in Riyadh, Saudi Arabia.

     Mr. Abu Ali was transported to the Riyadh prison, and the

statements in controversy in the instant Motions were allegedly

made by him there on June 11, 12, 15, and July 24, 2003.

     The Brigadier General and the Captain of the prison

testified about their contact with Mr. Abu Ali in Riyadh.            The

Brigadier General and the Captain were Mr. Abu Ali’s principal

interrogators in Riyadh.      The sum and substance of the Brigadier

General and the Captain’s testimony coincide in several material

respects.

     First, the Brigadier General and the Captain were questioned

extensively by both sides concerning Mr. Abu Ali’s claims that he



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was tortured, beaten, deprived of sleep, food, water, denied use

of a bathroom or a mattress, and use of other facilities in

Medina or Riyadh in order to secure statements.          Each adamantly

denies that they directed, participated in, or were aware of any

government official torturing Mr. Abu Ali or engaging in any such

behavior.

     Second, the Brigadier General and the Captain deny that the

United States government had any role in the arrest and detention

of Mr. Abu Ali.    As far as they know, the Saudi investigation and

roundup of the nineteen individuals most wanted in connection

with the Riyadh bombings produced information that led to Mr. Abu

Ali’s arrest.    They admit that in June 2003, they were ordered to

conduct some questioning of Mr. Abu Ali so the FBI could observe

Mr. Abu Ali and to receive some questions from the FBI to ask of

Mr. Abu Ali.

     Third, the Brigadier General and the Captain testified that

when they met with Mr. Abu Ali on the first night, he appeared to

be tense and anxious about being arrested.         Mr. Abu Ali told them

he feared that the Saudis would turn him over to the United

States government.     Each officer testified that they tried to

assure Mr. Abu Ali that their investigation only concerned the

Riyadh bombings and the Al-Qaeda cell which was operating in

Saudi Arabia.

     The Brigadier General testified that upon the defendant’s

arrival in Riyadh, he was kept in a solitary cell to keep him

away from other terror cell suspects and to prevent the cell

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members from influencing each other to refuse to cooperate.            Mr.

Abu Ali was initially questioned in a conference room at the jail

by the Captain and the Brigadier General.         The interrogation

occurred in the evening after evening prayers and continued into

the early morning hours because it is very hot during the day, as

is the custom in Saudi Arabia.       The practice of questioning and

working during the night was not an attempt to deprive Mr. Abu

Ali of sleep.    The Court notes that many of our court sessions in

this case were conducted during what are the evening hours in

Saudi Arabia.

     In the first and second interrogation sessions with Mr. Abu

Ali, he was nervous and upset, but respectful.          Mr. Abu Ali sat

in a chair at the table.      According to the Brigadier General, Mr.

Abu Ali sat straight up, and rocked back and forth, in the chair.

The Brigadier General and the Captain did not detect any bruises

or sense any discomfort in the defendant’s physical condition.

Neither the Brigadier General nor the Captain observed the

defendant hold himself in a way to guard his back, as he might if

his back were injured or bruised.          On the contrary, the Brigadier

General and the Captain reported that when the defendant relaxed,

he rocked with his back firmly in the chair.         The Captain also

reported that, at one point, Mr. Abu Ali sat with one foot on the

chair and swivelled.     The Brigadier General and the Captain

testified that Mr. Abu Ali was not blindfolded or handcuffed

during interrogations.      They stated that Mr. Abu Ali was granted

breaks, access to food, water, a bathroom, and refreshments

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during breaks in questioning.

     The Captain testified that during the second session when

Mr. Abu Ali began his lengthy and detailed confession, Mr. Abu

Ali “sprung information like a springing water balloon.”           The

session lasted nearly seven hours because Mr. Abu Ali was very

forthcoming.    The Captain said that once he confronted the

defendant with the names “Ashroff” and “Reda” and other

information, Mr. Abu Ali asked, “Do you have al-Faq’asi?           Did you

arrest all of them?”     The Captain falsely told Mr. Abu Ali that

al-Faq’asi was in the room next door to the interrogation room.

Mr. Abu Ali looked nervous.      The Brigadier General testified that

after this exchange, Mr. Abu Ali said that in the event the

Saudis were to hand him over to the United States, he would deny

his confession.    The Brigadier General placated Mr. Abu Ali by

telling him that the United States did not know about his arrest

with the cell, and that he would be tried in Saudi Arabia with

members of his cell.     The Brigadier General assured Mr. Abu Ali

that he would be treated fairly by his Muslim brethren.           On

cross-examination, the Brigadier General acknowledged that Mr.

Abu Ali may expect, but he did not say, that as a Muslim, Mr. Abu

Ali would expect to be treated fairly.

     The Brigadier General admitted that he has threatened an

inmate before.    As the Court’s notes indicate, he once tied a

person to a tree for five minutes in connection with questioning.

He denies engaging in such behavior in this case.          To be sure,

some of the testimony of the Captain was questionable.           The

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Captain said he never used force on a suspect.          The Captain said

he has never had a suspect refuse to be questioned by him or to

sign a written confession statement log.         He has been an

interrogator for seven years, and, according to him, each person

he questions confesses or gives a statement.         Additionally, the

warden from the Medina prison described the detention facility in

Medina as a residential type building without a kitchen where the

prisoners were permitted to order their meals.



     5. The July 24, 2003, Videotape of Mr. Abu Ali Reading his

     Confession.

     During the interrogation process, on July 24, 2003, Mr. Abu

Ali was taken to an interrogation room and directed to read his

written statement.     The videotape was played for the Court, not

to consider its content, but so that the Court could observe Mr.

Abu Ali’s demeanor during the reading.        Mr. Abu Ali acknowledged

in court that he did not know he was being videotaped when he

read this statement.     In Mr. Abu Ali’s own words, his behavior on

the videotape was “nuts.”      The Court concurs that the behaviors

exhibited during the tape show noteworthy demeanor.           During the

tape, it is apparent that Mr. Abu Ali is under some stress

because a person outside camera range is telling him to read the

statement and observing him the whole time.         Mr. Abu Ali appears

at times to be relaxed, smiling, and laughing.          He seemed to

laugh at a mention of “Al-Qaeda” and yawns at one point in the



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videotape.   Mr. Abu Ali acknowledged in his testimony that he ad

libbed certain statements that are not in the prepared text

spontaneously and without orders from his interrogators.           He

asked for water and received it while reading the statement.            In

two instances, he exhibited unusual behavior.         In one place, he

acknowledges receiving certain training to conceal his identity

and he laughs and says something to the effect of, “Well I guess

that did not work out” or “I guess we see how that worked out.”

Additionally, he was reading a statement when he spontaneously,

without direction, simulated cocking a weapon or automatic type

rifle.



     6. The Live Testimony in Alexandria, Virginia.

     The Suppression Hearing testimony also included live

testimony from a number of witnesses in this Court beginning

October 11, 2005 and ending on October 20, 2005.          Again, the

Court will not recount in detail all of the witnesses’ testimony.

Rather, the Court will generally review certain testimony that is

most pertinent to the instant Motions.



     Special Agent Maria Joycs:

     Agent Maria Joycs is a supervisory special agent with the

FBI assigned to the Counterterrorism Unit.         She was deployed to

Riyadh, Saudi Arabia in May 2003 to investigate the bombings that

occurred on May 12, 2003, in which nine (9) American citizens



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were killed.    She testified that no one from the United States

had anything to do with Mr. Abu Ali’s arrest and detention.            On

June 10, 2003, Agent Joycs sent an e-mail to her supervisors,

based on information received from a memorandum from the Mabahith

on June 9, 2003, informing them that the Mabahith were

interrogating Mr. Abu Ali.

      The Mabahith memorandum to the United States stated that the

Saudis had a lead that an American citizen detained in Saudi

Arabia had a plan for a terrorist operation.         The June 9, 2003,

memorandum identified Mr. Abu Ali as the detainee and informed

the FBI that his interrogation was underway.         The memorandum did

not describe any terrorist plan.       Upon learning of his arrest,

the FBI sought access to Mr. Abu Ali.        Agent Jocys wrote a

memorandum to the Saudi officials requesting an interview with

Mr. Abu Ali on June 10, 2003.       See Gov’t Ex. 72.     The Mabahith

responded on June 12, 2003 that the FBI may see Mr. Abu Ali

“soon,” which Agent Joycs interpreted as a denial.          See Gov’t Ex.

6S.   Agent Jocys said she first heard of a report that Mr. Abu

Ali might have a plan involving the President of the United

States on June 13, 2003. FBI headquarters directed FBI Agent and

Legal Attache Eduardo Sanchez to seek to secure immediate access

to Mr. Abu Ali, to investigate the allegations to determine if

the plan was imminent, and to determine whether Mr. Abu Ali was

associated with Al-Qaeda.      Again, the Saudi government denied the

FBI direct access to Mr. Abu Ali.



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     The June 15, 2003, Interrogation of Mr. Abu Ali and the

     FBI-Secret Service Role.

         The Mabahith refused to allow the FBI and Secret Service

to interrogate Mr. Abu Ali despite requests through various

channels.   However, the Saudi government agreed to allow the FBI

and Secret Service to observe its interrogation of Mr. Abu Ali on

June 15, 2003, and to provide questions for Mr. Abu Ali.           In

preparation for this interrogation, Agent Joycs, Agent Glenn

Posto, and others in the Legal Attache’s (hereinafter “Legat”)

office prepared a list of questions they wanted the Mabahith

interrogators to ask Mr. Abu Ali.          See Gov’t Exs. 7S-8S.   Agent

Joycs did not witness the interrogation on June 15, 2003.            She

stated that the FBI agents who drafted the questions did not

consider using the Mabahith to avoid the requirements of Miranda.

There was no discussion of Miranda in their preparation of

questions for Mr. Abu Ali.      She viewed the interview as an

intelligence gathering interview, rather than a criminal

investigation, meant to determine if there were any imminent

threats of terrorism that could be prevented.         At that time,

Agent Jocys was unaware of any plan to prosecute Mr. Abu Ali in

the United States, and Mr. Abu Ali was in Saudi custody in

connection with a Saudi investigation of the Riyadh bombings.

     On cross examination, defense counsel challenged Agent Joycs

about the extent of the FBI’s cooperation with the Saudi

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officials.   Agent Joycs stated that the FBI worked independently,

but that the Saudi officials arranged Mr. Abu Ali’s

interrogation.    Defense counsel also challenged whether Agent

Joycs knew about Mr. Abu Ali’s detention on June 8, 2003, because

the Legat’s office received notice of his arrest from the Saudis

on June 8, 2003, and Agent Joycs admitted that she got her

information from the Legat’s office on June 9, 2003.           Her e-mail

to headquarters on the morning of June 10, 2003 corroborates when

she learned of Mr. Abu Ali’s arrest.          See Gov’t Ex. 4S.   In

addition, Agent Joycs admitted that she did not observe the June

15, 2003, interrogation.      Also, when pressed about whether she

gave Miranda warnings to Mr. Abu Ali, she distinguished between

an intelligence interview and a criminal investigation interview.

     Agent Jocys reported that when the FBI met with the Saudi

Brigadier General prior to the June 15, 2003, interrogation, the

Brigadier General assured the FBI that Mr. Abu Ali would not walk

free and that Mr. Abu Ali would be charged with various terrorism

related offenses.     Agent Jocys testified that the Brigadier

General was “adamant that this is not the time to introduce

American interviewers to Abu Ali.          It is his belief that Abu

Ali’s cooperation would dry up.       We stressed the need to have

access to the interrogator to discuss information/questions-the

Brig[adier] General will make this happen as soon as they

possibly can.”    See Gov’t Ex. 10S.        Agent Jocys acknowledged

that, in connection with an application for a search warrant for

Mr. Abu Ali’s home in Falls Church, Virginia, Agent Sanchez

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stated in an e-mail that “the Saudis will do what we ask, but

prefer not to give information that will become public.”           See

Def.’s Ex. 1 (AA426).



     Special Agent Glenn Posto:

     Agent Posto is a special agent with the FBI assigned to the

Counterterrorism Unit.      He was deployed to Riyadh, Saudi Arabia,

in May 2003 to investigate the bombings that occurred on May 12,

2003, in which nine (9) American citizens were killed.           He stated

that he learned about Mr. Abu Ali’s detention on June 14, 2003,

and was assigned to observe the Mabahith’s interrogation of Mr.

Abu Ali on June 15, 2003.      To prepare for this interrogation, he

prepared (along with Agent Joycs and the staff of the Legat’s

office) a thirteen (13) question memo (with approximately fifty-

six (56) parts and subparts) for the Mabahith to ask Mr. Abu Ali

during the interrogation.      The Mabahith informed him, through an

interpreter, that there were too many questions and they cut the

thirteen (13) questions down to six (6), all of which the

Mabahith asked Mr. Abu Ali during the interrogation.

     Agent Posto, Agent Fritz Donner, Language Specialist Elias

Machanaly, and two Mabahith officers were in one room behind a

one-way mirror observing the interrogation.         The language

specialist could hear the interrogation over a cell phone and the

language specialist translated for the group.

     During the interrogation, Agent Posto observed Mr. Abu Ali’s

demeanor.   Agent Posto observed Mr. Abu Ali enter the

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interrogation room.     He testified that Mr. Abu Ali walked without

a noticeable limp or discomfort.       Agent Posto further testified

that Mr. Abu Ali did not appear to be favoring any parts of his

body or have any visible injuries.         Agent Posto recounted that

Mr. Abu Ali seemed relaxed, smug, and laughed with the Mabahith

interrogator.    Mr. Abu Ali sat in the chair with his back against

the chair.   At times, he slid down in the chair, he leaned

forward, and he sat forward in the chair.         Mr. Abu Ali did not

appear to be in any discomfort.       Agent Posto did not observe a

blindfold, handcuffs, or shackles on Mr. Abu Ali when Mr. Abu Ali

entered the interrogation room.       Mr. Abu Ali did not make any

complaints about his confinement that Agent Posto could discern.

     Agent Posto stated that the FBI agents did not have any

discussions about how to circumvent Mr. Abu Ali’s Miranda rights.

He stated that this was an intelligence interview rather than a

criminal interview.     He also stated that it was the State

Department’s job to assist with consular visits, not the FBI’s

responsibility.

     Agent Posto reported that the interrogation went on for

about two hours with one ten to fifteen minute break.           Mr. Abu

Ali was given water.     The Brigadier General left the

interrogation room once to come over to consult with the FBI and

Secret Service at the end of the interview.         No FBI or Secret

Service agent questioned Mr. Abu Ali or was presented to Mr. Abu

Ali on June 15, 2003.     Agent Posto denied posing any questions

through the Brigadier General about the so-called “Paintball

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Case” defendants, including Benkala and others.



     Elias Machalany:

     Mr. Elias Machalany, a language specialist for the FBI,

testified about his observation of Mr. Abu Ali’s interrogation on

June 14 or 15, 2003.     Mr. Machalany testified that on either June

14 or 15, he learned from two special agents in the Legat’s

office that an American, Mr. Abu Ali, had been arrested by the

Saudis.   Other agents prepared a list of approximately thirteen

(13) questions (with approximately fifty-six (56) parts and

subparts) that they wanted the Saudis to ask Mr. Abu Ali.            Mr.

Machalany then translated those questions into Arabic.           The

Saudis responded that the list of questions was too long, and

asked the FBI to submit fewer questions.         The FBI then cut the

list of questions to six (6), which they gave to the Saudis.

     On the night of June 15, 2003, Mr. Machalany was one of

three (3) American FBI employees who traveled to a Riyadh prison

and observed an interrogation of Mr. Abu Ali by two officers of

the Saudi Mabahith.     Mr. Machalany and two FBI special agents,

Posto and Donner, watched the entire interrogation from behind

one-way glass.    The interrogation was conducted by one Saudi, who

was dressed similarly to Mr. Abu Ali, and another Saudi was

present in the room.     Mr. Machalany testified that neither

appeared to be armed.     Around or after midnight, the Saudis

brought Mr. Abu Ali into the interview room and began the

interrogation.    Mr. Machalany testified that from his vantage

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point behind the glass, he could see Mr. Abu Ali when the door to

the interview room opened.      At that point, Mr. Abu Ali was

handcuffed.    He saw the Saudis remove the handcuffs, and Mr. Abu

Ali then entered the room under his own power, without

assistance.    Mr. Abu Ali wore a thobe - a long robe-like garment,

a cap, and he appeared to have a smirk on his face.

     Mr. Machalany testified that Mr. Abu Ali exhibited no pain

or discomfort when he entered the room, or at any point during

the interrogation.     At no point in the interrogation did Mr. Abu

Ali complain about his treatment while in Saudi custody, either

in Riyadh or Medina.     The interrogator’s tone of voice was

normal, conversational, and the interrogator did not threaten Mr.

Abu Ali.   When the interrogator asked Mr. Abu Ali to stop

fidgeting, he did so.     Mr. Machalany did not observe any cuts or

bruises on Mr. Abu Ali, although he noted in response to a

question on cross-examination that he did not see Mr. Abu Ali

shirtless, and he did not see Mr. Abu Ali’s back.          Mr. Machalany

also testified that Mr. Abu Ali frequently fidgeted in his seat

throughout the interrogation, sometimes sitting on his feet,

until the interrogator asked him to stop.         Although on direct

examination Mr. Machalany had testified that Mr. Abu Ali was

relaxed and comfortable throughout the interrogation, on cross

examination he conceded that one possible explanation for his

fidgeting was that Mr. Abu Ali was in pain.         However, Mr.

Machalany also testified that Mr. Abu Ali did not grimace or make

any facial expression as he moved around in the chair.

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     Mr. Machalany testified that before the interview began, Mr.

Abu Ali asked the interrogator whether the U.S. government knew

he was in Saudi custody.      The interrogator responded by saying

something to the effect of, “Like I told you before, I will not

let the Americans know you are here.”         Mr. Machalany testified

that he interpreted this comment to mean that Mr. Abu Ali did not

want the United States to know he was in custody.

     Mr. Machalany testified that the Saudi Mabahith interrogator

asked many questions about locations in Saudi Arabia unrelated to

those provided by the FBI during the course of the interview,

which lasted about an hour.      The interrogator asked the six

questions provided by the FBI, but Mr. Machalany testified that

he did not ask any follow-up questions.         Although Mr. Machalany

testified that in January 2005 he told someone from the U.S.

Attorney’s Office that the interrogator had asked follow-up

questions, he testified that he is now “100 percent certain” that

he was mistaken when he said that.         Mr. Machalany noted that

although he did not participate in any other interviews during

his 52-day stay in Saudi Arabia, he subsequently took part in

“hundreds” of interviews in Iraq, and that after making that

representation to the U.S. Attorney’s Office, he realized that

his statement about the follow up questions was incorrect.



     Alex Daghestani:

     Mr. Alex Daghestani, a language analyst for the FBI,

testified about various documents that he helped prepare for the

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government by translating them from Arabic into English.           He

testified that before the government uses a translated document

in court, the person who first translated it discusses his or her

work with an “editor.”      A third person then also reviews the

original document and the translated document.          If there is a

disagreement about an aspect of the translation, Mr. Daghestani

testified that the opinion of the person who will testify about

the document in court will usually be followed.

     Mr. Daghestani testified that he did not translate Mr. Abu

Ali’s videotape confession, but that he certified it.           Mr.

Daghestani also testified that some items that appear in brackets

in the transcript are descriptions of Mr. Abu Ali’s demeanor,

which were made by the person who translated the video and with

which Mr. Daghestani concurs.       Defense counsel also asked Mr.

Daghestani why the transcript did not include a voice saying,

“read,” in Arabic at the 1 minute and 20 second mark of the

video.   Mr. Daghestani testified that he did not recall whether

or not he heard a voice saying “read” at that point in the video.



     Charles Glatz:

     Mr. Charles Glatz, a consular officer for the U.S.

Department of State, testified about a series of meetings he had

with Mr. Abu Ali while he was in Saudi custody.          As a consular

officer in Saudi Arabia, Mr. Glatz frequently met with Americans

who had been arrested by Saudi authorities.         On June 11, 2003, he

learned from the FBI’s Legat office that Mr. Abu Ali, an American

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citizen, had been arrested by the Saudi Mabahith.          Following his

normal practice in such situations, Mr. Glatz prepared a request

to Saudi officials to meet with the detained American.           Mr. Glatz

testified that typically it would take three to four weeks for

the Saudis to allow him to visit Americans who had been detained

by the Mabahith.     On July 8, 2003, he was allowed the first

consular access to Mr. Abu Ali.

     Mr. Glatz testified that one of his priorities in a visit

with detained Americans is to gauge the citizen’s well-being, and

determine if the citizen is being mistreated.         Mr. Glatz had

previously visited two (2) Americans arrested by the Mabahith

(both were arrested before September 11, 2001) while they were in

custody, and neither had complained of mistreatment.           However, on

cross-examination, Mr. Glatz testified that he was aware that

Canadian and British citizens arrested at the same time as one of

the Americans had later claimed they were tortured by Saudi

officials while they were in custody.

     Mr. Glatz testified that during their first meeting on July

8, 2003, he found no indication that Mr. Abu Ali was being

mistreated.    Mr. Glatz brought Mr. Abu Ali a letter from his

mother that Mr. Glatz read to him, as the Mabahith official

watching the meeting would not let Mr. Glatz give the letter to

Mr. Abu Ali.    Likewise, the Mabahith official would not allow Mr.

Glatz to give Mr. Abu Ali a list of local attorneys.           Mr. Glatz

did not observe any signs that Mr. Abu Ali had been physically

harmed.   Although Mr. Abu Ali was wearing a thobe, no cuts or

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bruises were visible on his hands, face, neck, or feet.           He

appeared physically fit and had no problem standing up, taking

several steps toward Mr. Glatz, shaking hands, or sitting down.

Mr. Glatz said he questioned Mr. Abu Ali about his treatment in

custody.   Mr. Abu Ali said that the lights were kept on 24 hours

a day, but in response to a question from Mr. Glatz, Mr. Abu Ali

did not say that this practice had caused him any sleep

deprivation.    Mr. Glatz also testified that Mr. Abu Ali told him

that his treatment had been “excellent,” “kind,” and “humane” -

words that Mr. Abu Ali himself used.        Mr. Glatz testified that

the meeting took place in a reception type area where there were

sofas and chairs.     Mr. Abu Ali was seated on a sofa, and a Saudi

Government official was in the room watching and taking notes.

Prior to the meeting, Saudi Mabahith officials advised Mr. Glatz

not to discuss the case with Mr. Abu Ali.         Mr. Glatz tried to

have Mr. Abu Ali review and sign a Privacy Act waiver of

information so the State Department Consul could contact Mr. Abu

Ali’s family and let them know of the visit, but the Mabahith

officer present would not allow Mr. Abu Ali to sign it.           Mr. Abu

Ali was instructed prior to the Consul meeting not to discuss his

treatment and not to sign anything concerning his rights.            Mr

Glatz wrote reports of his consular visits with Mr. Abu Ali.

     Mr. Glatz testified that in his subsequent visits with Mr.

Abu Ali on August 11, September 6, October 5, November 4, and

February 17, he asked similar questions about the Saudis’

treatment of Mr. Abu Ali.      During each of those visits, he heard

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no complaints of mistreatment from Mr. Abu Ali and did not

observe any physical indications that Mr. Abu Ali might have been

mistreated.    On cross-examination, Mr. Glatz testified that he

has never met an American citizen who has been tortured by the

Saudis.

     On cross-examination, Mr. Glatz testified that during their

first visit, Mr. Abu Ali told him that he wanted to be treated as

an American citizen.     Mr. Glatz noted that the biggest problem

was that Mr. Abu Ali was being “held incommunicado.”           Thus, even

if he had a lawyer, under the Saudi system an attorney could not

have visited him during the investigation.         Mr. Glatz testified

that if Mr. Abu Ali had been charged by the Saudis following

their investigation, the United States Department of State would

have helped him obtain a lawyer.       Mr. Glatz stated that, in the

September 2003 visit, Mr. Abu Ali selected a lawyer but was not

allowed to contact the lawyer and had no funds to hire a lawyer.

The State Department does not pay for lawyers for United States

citizens detained abroad.

     Despite Mr. Abu Ali’s statement about wanting to be treated

as an American citizen, Mr. Glatz testified that during his visit

in either September or October, Mr. Abu Ali also asked the

consular officer, “Why are you asking me all these questions

[about the conditions of my confinement]?         I don’t have a problem

with Saudi Arabia; I have a problem with the U.S. government.”

On May 10, 2004, Mr. Glatz went to the Saudi prison facility to

meet with Mr. Abu Ali, but the prison director told Mr. Glatz

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that Mr. Abu Ali did not want to see him.         Mr. Glatz testified

that he responded that he wanted to hear that from Mr. Abu Ali

himself, but the prison director responded that he could not use

physical force to bring Mr. Abu Ali from the cell block to see

Mr. Glatz.   The prison director also told Mr. Glatz that Mr. Abu

Ali was considering “going to Sweden” if he was allowed to leave

Saudi Arabia.

     On cross-examination, Mr. Glatz testified that he had

exchanged e-mails with Mr. Abu Ali’s parents while he was

detained in Saudi Arabia.      Because the defense had not previously

been told of the existence of such potential Jencks material,

both parties attempted to locate copies of the e-mails.           Several

e-mails were produced that afternoon, both by Mr. Abu Ali’s

parents and the government.      In one e-mail, the parents told Mr.

Glatz that they were concerned because their son had told them

that he had been abused to the point that his hands hurt so much

he could not pick up a pen.      In a reply e-mail, Mr. Glatz told

the parents that, during his visits with Mr. Abu Ali, he had

neither seen physical evidence of abuse on their son nor been

told by Mr. Abu Ali of such abuse in response to questions about

his treatment.

     During Mr. Glatz’s September 6, 2003, and October 6, 2003,

consular visits, Mr. Glatz said there were a couple of five-

second intervals when he and Mr. Abu Ali were alone and out of

earshot of the Mabahith official observing the meetings.           Mr. Abu

Ali did not make any private complaint to him at these times.

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Mr. Abu Ali testified he recalled at least one of these occasions

of privacy.    Mr. Abu Ali testified that while he considered

making a complaint, he decided not to complain because he was

afraid and it did not appear that the United States consul could

do anything to help him.      Mr. Abu Ali recalled that the consul

could not secure a pen and piece of paper for him, could not

arrange a phone call, or get him a lawyer, and so he saw no point

in complaining to the consul about physical abuse.          Mr. Glatz

noted that Mr. Abu Ali reported that he was returned to general

population in the prison by August 11, 2003, and that he was

enjoying interacting with others.

     During the October 6, 2003, consular visit, Mr. Glatz said

that Mr. Abu Ali informed him that he had been questioned and

threatened by the FBI and Secret Service.         After the FBI and

Secret Service questioning, he was held in solitary confinement.

Mr. Abu Ali told Mr. Glatz that the FBI and Secret Service had

presented him with three options:          (1) cooperate and he would be

prosecuted in Saudi Arabia and serve a life sentence; (2)

cooperate and he would be prosecuted in Saudi Arabia and after

that prosecution, he would be prosecuted in the United States;

and (3) he could be returned to the United States and declared an

“enemy combatant” and he would be held in prison indefinitely.

Mr. Abu Ali asked Mr. Glatz if he could be tried in Saudi Arabia.

Mr. Abu Ali also gave Mr. Glatz an oral Privacy Act waiver so

that his family could receive information about the United States

Consul’s visits. See Gov’t Ex. 15S.

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       During the November 4, 2003, consular visit, Mr. Abu Ali

asked Mr. Glatz how he could go about renouncing his United

States citizenship.     Mr. Abu Ali wanted information about the

process.    Mr. Abu Ali remained in solitary confinement from

September, 2003, until January, 2004.        Mr. Abu Ali reported he

was allowed to call his parents every fifteen days after August

2003.



       Gilbert Sperling:

       Gilbert Sperling, a retired foreign service officer,

testified about a roughly one-hour meeting he had with Mr. Abu

Ali on August 31, 2004.      Although Mr. Sperling is retired, he is

on a list of retired officers who are called upon by the

Department of State for temporary duty when there is a staffing

gap.    From late May, 2004, to early September, 2004, Mr. Sperling

was serving in such a capacity at the United States Embassy in

Saudi Arabia.    While he was there, Mr. Sperling conducted one of

the routine monthly consular visits with Mr. Abu Ali during his

detention.

       Before his visit to the prison, Mr. Sperling read the

Embassy’s file on Mr. Abu Ali, which said that the Saudi Foreign

Ministry had described Mr. Abu Ali as having become “somewhat

belligerent towards the guards,” and stated that “his living

conditions were more like an apartment . . . than a cell,” and

that he had not signed a Privacy Act waiver.         During his visit,

Mr. Sperling found Mr. Abu Ali to be relaxed, and did not find

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him fearful, tired, or disoriented.        He did not see any

indications of physical mistreatment or abuse.          Mr. Sperling

testified that when he asked about his treatment, Mr. Abu Ali

said his only complaint was that he was not a free person.            He

also testified that there “seemed to be a friendliness” between

Mr. Abu Ali and the prison officials.

     Although Mr. Abu Ali’s first question of Mr. Sperling was

whether he knew of any developments in his case, he testified

that before the visit began, he had been asked by a Saudi prison

official not to discuss details of the case with Mr. Abu Ali.              On

cross-examination, Mr. Sperling said he complied with that

request, and that it was easy to do so because he did not have

any new information to provide, anyway.        Instead, they discussed

Mr. Sperling’s work in Mexico and the country of Georgia.            Mr.

Sperling was impressed by Mr. Abu Ali’s knowledge of world

politics and geography.      Mr. Sperling testified that other than

their visit, which lasted about one hour, he has had no contact

with Mr. Abu Ali.



     Luke Kuligoski:

     FBI Special Supervisory Agent Luke Kuligoski testified about

his participation in the interrogation of Mr. Abu Ali by members

of American law enforcement while he was in Saudi custody.            Agent

Kuligoski traveled to Saudi Arabia in September 2003 to

interrogate Mr. Abu Ali.      Agent Kuligoski testified that it was

the first time members of American law enforcement had met with

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Mr. Abu Ali.

     During their meetings, Agent Kuligoski observed no

noticeable marks on Mr. Abu Ali.       He testified that Mr. Abu Ali

looked healthy and physically fit, did not appear to favor any

parts of his body, and seemed relaxed and comfortable.

     Agent Kuligoski also testified that Mr. Abu Ali seemed very

interested in what might happen to him and stated that he would

prefer to stay in Saudi Arabia.       He testified that Mr. Abu Ali

said he was afraid of being tried in the United States because he

did not want to be the first U.S. citizen arrested after the

attacks of September 11, 2001.       Mr. Abu Ali never expressed any

interest in returning to the United States, Agent Kuligoski

testified.

     On cross-examination, Agent Kuligoski testified that Agent

Barry Cole told him that at his first solo meeting with Mr. Abu

Ali in Saudi Arabia, Mr. Abu Ali had said he did not want to talk

without a lawyer present.      Mr. Kuligoski also said that he was

aware that Mr. Abu Ali had previously requested a lawyer.

     Before he traveled to Saudi Arabia, Agent Kuligoski visited

Mr. Abu Ali’s parents and told them that he was going to Saudi

Arabia to “speak with their son.”          He asked the parents if they

wanted him to take anything to their son, and they gave him a

letter and a picture of Mr. Abu Ali’s younger brother.

     Agent Kuligoski testified he participated in the questioning

of Mr. Abu Ali.    Mr. Abu Ali did not appear to be in any

discomfort and there were numerous occasions when no Mabahith

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officer was present in the interview.         Agent Cole delivered the

letter from Mr. Abu Ali’s parents and the photograph.           Agent

Kuligoski then wrote down Mr. Abu Ali’s claim that he had given

the Saudis false information because he was tortured.           See Gov’t

Ex. 23S.   The statement in Agent Kuligoski’s notes reads, “He

said he wrote a lot of things that weren’t true, because he said

the Saudis used torture techniques.”         Agent Kuligoski said that

Mr. Abu Ali called it “torture techniques” and that it was a

Muslim matter and the agent would not understand.          Agent

Kuligoski also says that Mr. Abu Ali also told him that he

“enjoyed” his time in the Saudi prison interacting with other

inmates and playing soccer.      In response to a question from the

Court, Agent Kuligoski defined “torture” as any duress -

including deprivation of food or sleep and beatings - that is

used “to get someone finally to break down and talk.”           Agent

Kuligoski testified that he does not recall the context of Mr.

Abu Ali’s assertion that the Saudis used “torture techniques”

upon him, but says that when Agent Cole asked Mr. Abu Ali to

expand on that claim, he did not.          Mr. Abu Ali did not complain

about beatings, being punched or kicked, having his hair or beard

pulled, being deprived of sleep, or being hung from the ceiling

in his cell with his hands above his head.

     Agent Kuligoski testified that, as he was gathering his

materials up to leave at the end of the FBI interview on

September 18, 2003, and only he and Mr. Abu Ali were in the room,

Mr. Abu Ali asked for a pen and a piece of paper to write a note

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to his family.    Agent Kuligoski gave Mr. Abu Ali paper a pen to

write a letter to his parents, and Agent Kuligoski said he would

deliver it to his father as Mr. Abu Ali requested.          Mr. Abu Ali

wrote a letter to his family without any prompting or orders from

him or Agent Cole.     See Gov’t Ex. 22.     Mr. Abu Ali acknowledged

that, in the letter, he referred to Agent Kuligoski as “a great

man” and that “ he was not under any pressure” to write the

letter to his family.     It was Mr. Abu Ali’s own decision to

include the reference to Mr. Kuligoski and to the lack of

pressure.

     Agent Kuligoski was also responsible for helping to prepare

the affidavit for the search warrant concerning Mr. Abu Ali’s

Falls Church, Virginia, home and for executing that search.

Agent Kuligoski acknowledged that Mr. Abu Ali was a suspect in

the so-called “Virginia Paintball Case” in Alexandria, Virginia.

Agent Kuligoski testified that Mr. Abu Ali’s brother was present

in the apartment at the time of the search and that he pointed

out items that belonged to Mr. Abu Ali.        The results of the

search, including the inventory and copies of documents, were

sent to the Mabahith.

     On cross-examination, Agent Kuligoski said that Mr. Abu Ali

was questioned for four nights, on September 14, 16, 17, and 18,

2003.   Mr. Abu Ali was not questioned on September 15, 2003.

Agent Kuligoski did not participate in the interrogations on

September 14.    The interrogations were conducted in a conference

room, and Mr. Abu Ali was given breaks, food, and water.           Agent

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Kuligoski admits that, during these interviews with Mr. Abu Ali,

the agents did discuss the so-called “three options” about

cooperation with Mr. Abu Ali.       Specifically, they discussed the

prospect of Mr. Abu Ali’s being prosecuted in Saudi Arabia, being

prosecuted in Saudi Arabia and the U.S., being declared an “enemy

combatant,” and being incarcerated indefinitely, perhaps for life

without a trial, in the United States.



     Barry Cole:

     Special Agent Barry Cole of the FBI testified that he first

saw Mr. Abu Ali on September 14, 2003, and that he spent between

thirty (30) to thirty-five (35) hours with him over the course of

four meetings.     For about twelve (12) to sixteen (16) hours of

their interviews, no members of the Mabahith were present.

During their four meetings, Agent Cole testified that he was

seated about three feet from Mr. Abu Ali, and that Mr. Abu Ali

appeared to be relaxed and in good health.         He said that Mr. Abu

Ali’s only complaint came on the third or fourth meeting, when he

claimed that the Saudis had subjected him to mental torture.

When Agent Cole asked him to explain, Mr. Abu Ali said Agent Cole

would not understand because it was a “Muslim thing.”

     On cross-examination, Agent Cole testified that Mr. Abu Ali

did ask for an attorney in their first meeting, but Agent Cole

told him that he was not entitled to an attorney in Saudi Arabia.

Agent Cole testified that he asked the Saudis to put Mr. Abu Ali

in isolation during the time frame of the September FBI

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interrogations, and that the Saudis “granted my request.”

     Agent Cole testified that the purpose of his interviews was

to “gather intelligence.”      He said that he approached his

interrogation of Mr. Abu Ali as though Mr. Abu Ali was a

terrorist.    Agent Cole denied that he left the room after Mr. Abu

Ali said that the Saudis had tortured him, and said that he did

not tell the Saudi Brigadier General at the prison about the

allegation.    He testified that, when he returned to the United

States, he had a conversation with his supervisor in the

Washington Field Office about Mr. Abu Ali’s claim that he had

been tortured.    He did not follow up on the claim with the

Department of State.



     Dr. Richard Schwartz:

     Dr. Richard Schwartz, the Chairman of Emergency Medicine at

the Medical College of Georgia and a contractor for the FBI,

testified about conducting a medical exam of Mr. Abu Ali when he

boarded a United States government plane in Saudi Arabia for a

flight to the U.S. on February 21, 2005.         Dr. Schwartz testified

that he performed a general medical exam on Mr. Abu Ali for three

reasons:   (1) to ensure that he was in adequate health for the

long flight; (2) to see if he had a history of infectious

diseases; and (3) to look for signs of abuse.         On cross-

examination, Dr. Schwartz said that, prior to the trip, he had

not been informed of any allegations by Mr. Abu Ali that he had

been tortured, and that he had only inquired into his medical

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condition.

     Dr. Schwartz testified that Mr. Abu Ali was awake, alert,

well-rested, and well-nourished, but that he seemed somewhat

anxious.    He testified that he asked Mr. Abu Ali if he had been

mistreated and Mr. Abu Ali said nothing about any type of

mistreatment, and that the only aspect of his confinement that he

described that could be considered psychological mistreatment was

his having been placed in solitary confinement.          The only

physical ailment Mr. Abu Ali mentioned was some pain in his right

shoulder, which Dr. Schwartz thoroughly examined and found to be

“essentially normal.”     Mr. Abu Ali also said that he thought his

vision was not as acute as it had been before he entered solitary

confinement, and mentioned that he had previously had Lasik eye

surgery.

     During the physical exam, Dr. Schwartz looked at and touched

Mr. Abu Ali’s back and abdomen.       Dr. Schwartz also did a full

skin examination.     Mr. Abu Ali had no reaction to being touched

in either area.    Dr. Schwartz testified that he observed three or

four small circular and linear areas of increased pigmentation on

his back.    The marks were flat, not depressed or raised.          There

were no linear marks on his neck.          He said that the circular

marks were probably acne scarring, and that the linear marks

could be from “almost any number of things,” but that they

“appeared inconsequential.”      Dr. Schwartz testified that he has

treated many patients who have been beaten or whipped, and that

there is no “usual” pattern of marks from such abuse, and that it

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is also possible for such abuse to leave no marks at all.            While

there is no typical case for beating victims, it is not uncommon

for marks to appear on the whole back.         Dr. Schwartz’s opinion

was that the marks he observed were not evidence that Mr. Abu Ali

had been subjected to non-accidental trauma.         Dr Schwartz

admitted that this opinion was not in his medical report because

he did not think it was significant, and no one had alerted him

that Mr. Abu Ali had claimed he was a victim of torture.

     On cross-examination, Dr. Schwartz testified that he did not

mention the marks on Mr. Abu Ali’s back in his report because he

thought they were inconsequential.         He also said that he sees

“these kinds of marks on people all the time.”          He did not ask

Mr. Abu Ali about the marks and did not ask the photographer to

take pictures of them.      He also testified that he has not

examined other people who have been tortured in Saudi Arabia.

     Dr. Schwartz testified that, during the flight back, he gave

Mr. Abu Ali some Tylenol when he complained of a headache and

some anti-nausea medication when the plane encountered some

turbulence.    Dr. Schwartz also testified that Mr. Abu Ali was

blindfolded when he boarded the aircraft, and that two FBI

Hostage Rescue Team members were present during his exam.



     Dennis Hankins:

     Dennis Hankins, a consular officer for the Department of

State, testified about two meetings he had with Mr. Abu Ali in

Saudi Arabia:    (1) a consular visit on October 23, 2004; and (2)

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at the airport in February 2005, when Mr. Abu Ali was flown to

the United States.

     Mr. Hankins testified that his visit with Mr. Abu Ali in

October was a “routine consular visit.”        He had previously been

told that Mr. Abu Ali was not cooperative, and that there was

“high level DOJ interest” in his case.        During their visit, Mr.

Hankins testified that he found Mr. Abu Ali to be confident and

at ease.   He carefully watched how Mr. Abu Ali entered the room

to look for signs of abuse, but saw no sign of a limp or any

other indications of mistreatment.         Mr. Abu Ali made no reference

to any type of mistreatment, other than complaining that the food

was monotonous, Mr. Hankins testified.        Mr. Abu Ali wanted to

know the status of his parents’ lawsuit against the U.S.

government.

     In February 2005, Mr. Hankins spent about ten minutes

visiting Mr. Abu Ali aboard the FBI aircraft that would take him

to the United States.     He testified that his reasons for being

there were to have a consular officer present, to again attempt

to have Mr. Abu Ali sign a Privacy Act Waiver, and to ask Mr. Abu

Ali why he had stopped calling his parents in November 2004.

     Mr. Hankins testified that Mr. Abu Ali told him he wished he

had previously been able to tell him about his treatment in the

prison, but that there had always been a Saudi guard present.

Mr. Abu Ali told him that he long wanted to speak to a consular

officer in private.     He did not say anything about being

physically mistreated, but said that he had not refused a

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consular visit, and that any Saudi claim that he had done so was

“typical of the mind games” that they played on him.           Mr. Hankins

testified that if he had more time, he would have asked more

questions of Mr. Abu Ali at that time.



     Brian Balgaard:

     Brian Balgaard, a FBI Special Agent, testified about his

presence on the rendition flight that took Mr. Abu Ali from Saudi

Arabia to the United States.       He said that Mr. Abu Ali was

handcuffed and shackled during the 17-hour flight, and that he

was also blindfolded during takeoff and landing to keep him

disoriented.    He was allowed to pray during the flight and also

fed three meals.     Agent Balgaard testified that although Mr. Abu

Ali seemed tense, he seemed to relax during the flight and had

several conversations with the FBI personnel aboard.           On cross-

examination, he testified that Mr. Abu Ali asked if an attorney

and consular officer were present on the plane, and was told “no”

as to both questions.     He also testified that Mr. Abu Ali fell

asleep shortly after takeoff.

     Agent Balgaard testified that the FBI requested Mr. Abu

Ali’s medical records from the Mabahith in July 2004, and that

the Saudis provided medical documents to the Legat’s office in

Saudi Arabia in January 2005.       In addition, the FBI requested any

taped phone calls of Mr. Abu Ali in July 2004, and the Saudis

produced some CD-ROMs of taped phone calls in late January 2005.

However, the linguist cross-checked those calls, and they

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appeared to be ones the FBI already had.          Subsequently, it became

clear that another tape was missing, and the FBI made a formal

request for that tape in March 2005.          The Saudis provided a CD of

that call about one week later.



     Mohamed Adra:

     Mr. Mohamed Adra, a FBI language analyst, testified about

the FBI’s translation and certification process.          Mr. Adra

testified that the FBI uses a three-step process for translating

any document to be used in court.          One person translates it, a

second reviews the original and the translation, and a third

edits it.   In addition, if a fourth person is to testify about

the document in court, that person will also have input as to the

translation.

     Mr. Adra also testified about his translation of several

taped phone calls between Mr. Abu Ali and his parents while he

was in Saudi custody.     On July 31, 2003, he testified that Mr.

Abu Ali told his father, “My health is great.          Everything is

fine.”   During that call, his father asked why his son had not

signed the Privacy Act waiver, and suggested that perhaps that

was why he was still being detained.          Mr. Abu Ali replied, “Put

your minds at ease.     Everything is fine.”       Mr. Adra testified

that in a phone call on November 22, 2003, Mr. Abu Ali’s mother

told him that anything said “under coercion . . . would not have

any value in American courts.”       Mr. Abu Ali asked, “Are you sure

100 percent?”    His mother replied, “We are sure.”        Mr. Adra

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testified that in a call on August 28, 2004, Mr. Abu Ali’s father

asked him “How is your hand?” and that Mr. Abu Ali answered, “My

hand is like steel.”     Mr. Adra also testified that on September

25, 2004, Mr. Abu Ali’s mother was asking him about the length of

his hair, then asked, “Did your fingernails come back?”           Mr. Abu

Ali replied, “What are you talking about?”



     Nurse Merry Brinkley:

     Ms. Merry Brinkley, a registered nurse who works at the

Alexandria Detention Center, testified about Mr. Abu Ali’s

medical examination when he was admitted to the facility on

February 23, 2005, and his subsequent treatment.          Ms. Brinkley

testified that she gave Mr. Abu Ali a health care examination - a

“head-to-toe exam, to insure that [inmates] don’t have any

physical problems or mental” - on February 23, 2005, two days

after he was booked into the Alexandria Detention Center.            At

that time, Mr. Abu Ali told her he had no medical problems.            Ms.

Brinkley said that when she examined his back she found acne on

his back and shoulders, but did not observe any scarring.            On

cross-examination, she said she can see marks on Mr. Abu Ali’s

back in photographs now, and that they look like they could be

either striae or scars.      She observed an abrasion on Mr. Abu

Ali’s ankle, but he told her it was no problem.          He did not

exhibit any rapid heart rate.       On cross-examination, she

testified that Mr. Abu Ali told her the abrasion on his ankle was

from leg shackles.

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     Ms. Brinkley described Mr. Abu Ali’s demeanor during the

exam as “compliant” and said that his vital and heart signs were

normal, and that he did not tremble or make any startled

reflexes.   Ms. Brinkley testified that Mr. Abu Ali told her

nothing about being mistreated in Saudi Arabia, and she did not

observe anything on his wrists that indicated he had been hung

from a ceiling for ten hours.       On cross-examination, she

testified that at the time she administered the exam, no one had

told her of Mr. Abu Ali’s claim that he was tortured while in

Saudi custody.    Ms. Brinkley also testified on cross-examination

that neither she nor the other health care workers who examined

Mr. Abu Ali are psychologists or psychiatrists.          The only request

Mr. Abu Ali made of Ms. Brinkley was that he be served a

vegetarian diet, and that he would like to be served more

desserts.

     Ms. Brinkley also testified that since he has been admitted

to the Alexandria Detention Center, Mr. Abu Ali has been given a

physical exam every week.      She said that the only complaint Mr.

Abu Ali has made about his physical condition during his entire

stay at the Alexandria facility was during his first month, when

he asked for chapstick because he had dry lips.



     Sylvia McCarthy:

     Ms. Sylvia McCarthy, a licensed practical nurse at the

Alexandria Detention Center, testified about conducting a health

care screening examination of Mr. Abu Ali when he was admitted to

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the facility on February 21, 2005.         The purpose of such an exam

is to determine whether an incoming inmate has any illnesses or

diseases, so the detention center staff can treat them.           Other

than telling Ms. McCarthy about an ankle abrasion from his leg

shackles, Mr. Abu Ali had no complaints about his health.            Ms.

McCarthy testified that he made no requests for special care.

She also testified that Mr. Abu Ali appeared calm and was smiling

when she saw him, and that she answered “no” to a series of

questions on a mental health intake screening and assessment form

pertaining to whether the inmate exhibited feelings of

helplessness and hopelessness, or appeared overly anxious,

unusually embarrassed, or ashamed.

     On cross-examination, Ms. McCarthy said that her exam was a

quick review of Mr. Abu Ali, intended only to catch major items.

She said she was not aware that Mr. Abu Ali had been brought to

the Alexandria Detention Center straight from his flight into the

United States, or that he was blindfolded when he entered the

facility.   Ms. McCarthy also stated that she has not had any

training as either a psychiatrist or a psychologist.



     Dr. Robert Katz:

     Dr. Robert Katz graduated from George Washington University

School of Medicine in 1961, had a residency in internal medicine

and dermatology, and is board certified in dermatology and

dermopathology.    He taught residents for 30 years at Walter Reed

Army Medical Center, Bethesda Naval Hospital, and Georgetown

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University.    He has published over twenty articles on dermatology

and served as an expert witness and an expert consultant.            The

Court certified Dr. Katz as an expert in dermatology.

     Dr. Katz defined “scars” as alterations of connective

tissues in response to injury or disease. He described

hypertrophic scars as areas raised above the skin and atrophic

scars as depressed areas.      Spread scars are thinned and atrophic.

Most scars (i.e. approximately 75%) are hypertrophic.            Dr. Katz

described a tissue wound as going through several steps,

depending upon the severity of the injury.         These steps include

external trauma, a break in the skin, bleeding, crusting,

surrounding inflammation, redness, and tenderness.          The healing

process would include scabbing, having the scab fall off, and

finally a resulting scar.      The scar may be raised, depressed,

wide, or narrow, but typically a scar has some dimension.

     Dr. Katz did not examine Mr. Abu Ali.         Dr. Katz reviewed

color photographs of Mr. Abu Ali’s back and Dr. Allan Keller’s

report.   Dr. Katz reviewed Dr. Keller’s report and offered his

opinion concerning the photographs and Dr. Keller’s findings.

Dr. Katz noted that Dr. Keller referred to the marks on the

defendant’s back as “scars” but did not describe whether the

scars were hypertrophic or atrophic, if there was thickening or

flattening, and whether Dr. Keller actually palpated the scar.

Dr. Keller only described a change in the pigmentation of the

skin.   Dr. Katz noted that Dr. Keller did not describe a break in

Mr. Abu Ali’s skin or the location of the marks.          Dr. Katz

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testified that it is very common to see hyper pigmentation and

linear pigmentation in the skin and that such conditions could be

caused by superficial breaks, scratches, or trauma.           He stated

that individuals with darker complexions are more prone to

hypertrophic scaring and that pigmentation would be increased in

a person of Mr. Abu Ali’s complexion.

     Dr. Katz stated that if the marks were caused by whipping or

other trauma they would have a period of crusting which would go

on for a minimum of one and a half to four (4) weeks, and would

be very painful and uncomfortable in response to pressure.            Dr.

Katz stated that the marks on the defendant’s back are not scars

because they appear flat, and there is no depression, spreading,

or thickening.    Dr. Katz concluded that it is unlikely that the

marks on Mr. Abu Ali’s upper back are scars from torture because

the marks are all on the upper back, they are linear, parallel to

each other, and there is no evidence of scaring.          Dr. Katz

reviewed the photographs of Mr. Abu Ali and said that, in his

medical opinion, the marks depicted are not scars.

     Dr. Katz reported that a scar caused by whipping would

bleed, then go through inflammation, redness, tenderness,

crusting, scabbing, loss of the scab, and scarring.           This process

could occur over a period from one and a half weeks to three (3)

to four (4) weeks.     The scars would be uncomfortable to touch,

and applied pressure would cause pain.        The Court notes that this

information is significant because Mr. Abu Ali claims he was

whipped on June 10 or 11, 2003 in Medina.         Witnesses from the FBI

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who observed Mr. Abu Ali in the interrogation of June 15, 2003,

did not observe Mr. Abu Ali guarding his back.          Mr. Abu Ali sat

in a chair.    Mr. Machalany reported that Mr. Abu Ali fidgeted in

the chair and did not grimace or show any signs of discomfort on

his face.   Agent Posto observed Mr. Abu Ali enter the

interrogation room without discomfort and sit in a chair with his

back against the chair without showing any signs of discomfort.

The Brigadier General and the Captain reported in their

interrogations of Mr. Abu Ali on June 11, 12, that Mr. Abu Ali

sat comfortably, rocked, and swivelled in his chair.           These

reports are obviously inconsistent with how medical professionals

would expect the victim of a vicious whipping on the back to be

able to move his body.

     On cross-examination, Dr. Katz admitted that he never

specifically examines patients for torture and that he is not

certified as an expert in torture.         He further admitted that he

only looked at photographs of Mr. Abu Ali and did not personally

examine him.    He admitted that he did not notice any markings on

the defendant’s lower back pointed out by defense counsel when

reviewing the photographs, Gov’t Exs. 36S, 35S, and possibly some

other markings in the photographs, but these observations would

not change his opinion.      Dr. Katz could not say that the marks

did not come from whipping, but he thinks it is unlikely that

they did.   Dr. Katz observed that scars incurred in a whipping

like Mr. Abu Ali described would produce marks that likely criss-

cross over each other, have differing patterns - some diagonal,

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some linear - and he would expect marks to be on the whole back

and neck as well.     Dr. Katz drew upon Dr. Saathoff’s report about

Mr. Abu Ali’s statement that he was struck twenty or more times

while chained to the floor in a crouching position with his full

back and neck exposed.      Dr. Katz opined that, under these

circumstances, he would expect to find marks on the full back,

neck, mid-back, shoulders, and upper back as well.          Dr. Katz said

Mr. Abu Ali’s back in the photographs shows just four to seven

linear parallel marks on the shoulders.        In any event, the marks

are not thick or spreading, and there is no loss of hair pattern

in the darkened skin pigmentation, or loss of skin line depicted

in the photographs, as he would expect if these marks were

wounds.



     Dr. Allen Keller:

     Dr. Allen Keller graduated from the New York University

Medical School, performed his residency at Bellevue Hospital in

internal medicine, served as chief resident, and is board

certified in internal medicine.       He is currently the Chairman of

the Bellevue Commission for Victims of Torture.          He has taken

courses and seminars on treating victims of torture and routinely

trains physicians in caring for victims of torture.           After his

second year in medical school, he spent a year with a non-

governmental organization working at a refugee camp in Cambodia

working with torture victims.       He also worked for the government



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with asylum seekers and with the State Department as an expert.

The Court certified Dr. Keller as an expert in Internal Medicine.

     Dr. Keller defined torture using the definition in the

United Nations Convention Against Torture.2         Dr. Keller testified

that torture is severe physical or mental suffering inflicted by

a person acting in an official capacity in order to punish or to

extract information or elicit behavior from an individual.            Dr.

Keller also testified generally about the side effects, both

physical and psychological, of torture.        He then explained that

he begins his assessment by conducting a detailed history both of

the individual’s medical background and of the particular

incidents of torture.     Then, Dr. Keller performs a physical

examination to see if the findings are consistent with the

victim’s story.    Dr. Keller examined Mr. Abu Ali on April 20,

2005, at the Alexandria Detention Center.         He spent eight hours

alone with the defendant and conducted a detailed history and

physical exam.    He took Mr. Abu Ali’s vital signs and did a

dermatological, neurological, and neuromuscular exam.           He found

the defendant to be in good health and that all tests were

“grossly” normal.     With respect to his examination of the skin,

he found abnormal findings resulting from injury or traumatic



     2
      The United States of America is a signatory to the United
Nations Convention Against Torture and Other Cruel, Inhuman or
Degrading Treatment or Punishment (hereinafter “U.N. Convention
Against Torture”). As a treaty adopted by the United States,
this treaty is binding upon the federal courts and equivalent to
the Supreme law of the land, the Constitution. See U.S. CONST .
art. VI, cl.2.

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events.   Dr. Keller stated that he saw approximately ten linear

scars of approximately the same width (0.3 cm) and varying

lengths (from 1.5-5.0 cm) on Mr. Abu Ali’s back.          Dr. Keller

palpated the scars that he observed on Mr. Abu Ali’s back.             See

Gov’t Exs. 35-39S.     Dr. Keller defined the word “scar” to mean

abnormal interruptions in the skin resulting from injury which

may be intentional or non-intentional.        He described these

darkened areas of skin as smooth or mostly flat.          Dr. Keller is

of the opinion that these hyper pigmented areas are scars that

are highly consistent with Mr. Abu Ali’s report of torture.            Dr.

Keller pointed out five (5) to seven (7) scars in Government

Exhibit 35, two which he described as horizontal, and some non-

trauma related stretch marks in Gov’t Ex. 36.         Dr. Keller stated

that some of the scaring on the defendant’s lower back was due to

stretch marks.    He identified two horizontal marks on Mr. Abu

Ali’s lower back that were not stretch marks and attributed them

to whipping.

     With respect to the detailed history, Dr. Keller reported

that the defendant had no physical or psychological problems and

reviewed Mr. Abu Ali’s medical records.        Mr. Abu Ali reported

that he was first tortured after the fourth or fifth

interrogation in Medina during which he asked the Saudis for

legal representation and the Saudi guards punched him in the

stomach, blindfolded him, and handcuffed him in a squatting

position.   Also, Mr. Abu Ali claimed that he was struck with a

foreign object with his shirt both off and on.          Mr. Abu Ali was

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not sure how many times he was struck, but stated that it was

many times, and probably was more than ten.         Mr. Abu Ali said it

felt like his back was stinging, and he could see blood on his

hands from the injuries on his back.        During the interrogations,

Mr. Abu Ali was told that if he did not cooperate, he would be

treated as an enemy combatant and would lose his hand, foot, or

be beheaded if he did not confess.         Mr. Abu Ali claimed that he

asked for a lawyer and was told the United States Embassy would

not help him.

     In Riyadh, Mr. Abu Ali was repeatedly interrogated for

extended periods of time from approximately 8 p.m. to 4 or 6 a.m.

He was not beaten in these interrogations, but was threatened

with treatment as an enemy combatant.        Mr. Abu Ali was kept in

solitary confinement, but was fed three meals a day, and was

occasionally allowed to go outside for exercise.          Dr. Keller

testified that he believes the “sense of isolation and

intimidation” that Mr. Abu Ali experienced was part of his

mistreatment.

     At one point, probably in September, 2003, after Mr. Abu Ali

was interviewed by the FBI, the Saudis told him that he

embarrassed them, and so they shackled Mr. Abu Ali with his arms

above his head and his feet touching the ground for a period of

several hours.    When the Saudis uncuffed Mr. Abu Ali’s hands,

they were “tingling,” felt “almost paralyzed,” and Mr. Abu Ali

could barely move them.      According to Dr. Keller, Mr. Abu Ali

asked again if he could have a lawyer, and the Saudis took him to

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a solitary cell where he was punched, kicked, slapped, and told

he would not get special treatment because he was an American.

Mr. Abu Ali told Dr. Keller he spent 30 days in solitary

confinement and then was transferred to another solitary cell

with no mattress, blanket, or pillow, and later he was moved to a

third cell with a shower and better accommodations.           Based on the

medical history and physical exam, Dr. Keller concluded that Mr.

Abu Ali suffered from depression and post traumatic stress

disorder (“PTSD”) as result of torture.

     Dr. Keller testified that there are varying degrees of PTSD,

and that Mr. Abu Ali suffers from the most severe form.           He said

that Mr. Abu Ali re-experiences the trauma of his confinement in

Saudi Arabia in the Alexandria Detention Center through triggers

in his environment, such as when a cell door opens, when he hears

guards walking by his cell playing with their handcuffs, or when

he hears the screams of a possibly intoxicated prisoner.              Dr.

Keller said that Mr. Abu Ali exhibits hyperarousal and is easily

startled.

     Dr. Keller testified about malingering, the practice of

falsely stating events for some secondary gain.          Dr. Keller said

it is possible that Mr. Abu Ali is malingering, but that he

doubts that is the case.      He said that there are tests for

malingering, but that no one test is the “gold standard,” and

that the study of determining malingering is “in its infancy.”

On cross-examination, Dr. Keller stated that he has found “very

few” of the approximately 500 victims of torture he has treated

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to be malingering.     He also acknowledged that Mr. Abu Ali had a

substantial interest in convincing him and the Court that he was

tortured.

     On cross-examination, Dr. Keller admitted that dermatology

and psychology are different fields from internal medicine.            He

admitted that someone with a chance for secondary gain would have

more incentive to lie about his injuries during the history and

admitted that Mr. Abu Ali had a substantial amount to gain by

lying.    Dr. Keller admitted that he cares passionately about

human rights and works as an advocate for torture victims.            He is

concerned about allegations that the United States government has

abused detainees in the war on terrorism and opposed Attorney

General Albert Gonzales’s nomination.        He lobbied members of

Congress against Attorney General Gonzales and accused Mr.

Gonzales of supporting the abuse of detainees in Guantanamo Bay,

Cuba. Dr. Keller was a signatory to an amicus curiae brief to the

United States Supreme Court in Hamdi v. Rumsfeld, 540 U.S. 1099

(2004).

     Dr. Keller stated that he based his conclusion that Mr. Abu

Ali was tortured on Mr. Abu Ali’s statements, Dr. Keller’s

knowledge of the practices of Saudi Arabia, his physical exam of

Mr. Abu Ali, and the fact that the defendant was forthcoming

about instances where he was treated well.         Dr. Keller admitted

that Mr. Abu Ali did not say how many times he was struck on his

back and could not say what he was struck with.          Dr. Keller was

not aware that prisoners in Saudi jails wear thobes, not shirts,

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and stated that Mr. Abu Ali told him he was whipped with his

shirt on and off.     Dr. Keller stated that he palpated the scars

which were mostly smooth or flat, presented as hyper pigmented

areas, and that these marks on Mr. Abu Ali’s back are scars and

highly consistent with torture. Dr. Keller observed that Mr. Abu

Ali’s skin lines were not disrupted, that there are one or two

marks in Mr. Abu Ali’s middle back, and that there are no marks

that appear to criss-cross.

     In response to the Court’s questioning, Dr. Keller stated

that Mr. Abu Ali was interrogated approximately five times before

he was abused in Medina, and that the second time he was beaten

was in mid-September 2003 when he was suspended by his arms.            The

third incident of torture was in November 2004 when he was

punched, kicked, and slapped by the Saudi prison guards.

     Dr. Keller concluded that, based upon his examination,

interviews with Mr. Abu Ali, and his expertise, Mr. Abu Ali

suffers from PTSD and major depression as a result of being

tortured.   He admits that he did not conduct any external inquiry

or speak with detention center nurses or deputies to question

visual observations of Mr. Abu Ali’s behavior.          Dr. Keller says

his judgment of Mr. Abu Ali’s credibility is based upon his

individual assessment of Mr. Abu Ali.



     Dr. Lynn Gaby:

     Dr. Lynn Gaby is an assistant professor of psychiatry at the

George Washington University Medical Center and also works at the

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Center for Multicultural Human Services, a non-profit

organization, where she works with survivors of torture and

severe trauma.    Upon motion by the defense, and without objection

by the government, the Court recognized her as an expert witness

in psychiatry.

     Dr. Gaby testified for the defense about her April, 2005,

examinations of Mr. Abu Ali and diagnosis that he suffers from

PTSD and severe depression.      PTSD can result when something

happens to a person that threatens life or limb, or when they

witness such an event happen to another, and that event engenders

feelings of “horror, helplessness, [and] fear.”          Dr. Gaby

testified that PTSD has three symptom clusters:          re-living of the

event, hyperarousal, and avoidance or numbing.          Victims of PTSD

may experience avoidance behaviors and may not want to talk about

the traumatic event.     Trauma can affect a victim’s ability to

recount the event and his perception of time.

     To evaluate whether a subject has PTSD, Dr. Gaby testified,

she relies primarily on an interview with the person.           Dr. Gaby

based her diagnosis of Mr. Abu Ali on three two-hour interviews

she conducted with him at the Alexandria Detention Center in the

spring of 2005, on April 19, April 26, and May 12.          Initially,

she was told that she had only two hours with him.          At the

conclusion of that session, she requested more time with him

because, although she had “a sense” of Mr. Abu Ali’s mental

state, she did not believe she could render an opinion at that

time.

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     Dr. Gaby testified that during their first visit, Mr. Abu

Ali was “initially anxious” and “somewhat guarded,” but that over

the course of their two-hour visit he gradually appeared more

comfortable and willing to expand on his experiences.           Dr. Gaby

attributed that change in his demeanor to the fact that she was

non-threatening, and that she has experience interviewing a range

of patients.    Mr. Abu Ali subsequently told Dr. Gaby that he had

been mistreated while in Saudi custody.        Specifically, he told

her he had been hit in the stomach, slapped, had his hair pulled,

was handcuffed to the floor and whipped, and threatened with the

amputation of a hand or foot or even beheading.          She testified

that Mr. Abu Ali told her that the mistreatment had stopped when

he told his captors he would talk, and that he made that decision

because he “just had to make it stop.”        Mr. Abu Ali also told her

that, after initially refusing to cooperate with the FBI after

their first meeting in September 2003, he was handcuffed to a

chain hanging from a ceiling and left standing upright for

perhaps as long as ten hours.

     Dr. Gaby testified that she observed a range of symptoms of

PTSD in Mr. Abu Ali.     She said that she observed a pronounced

feeling of shame in Mr. Abu Ali.       Dr. Gaby also testified that

she concluded in her report that he has an “excessive startle

reflex” - that she witnessed him having a stronger than normal

reaction to being startled by people passing outside the room

where they met - and that he told her he is awakened and sits

upright in bed whenever someone opens his cell door.           He also

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told her, “I don’t feel like I can trust anyone.”          Dr. Gaby

testified that although these are not necessarily “classic PTSD

symptoms,” she was “able to draw them out” during her interviews

with Mr. Abu Ali.     Although Dr. Gaby said that Mr. Abu Ali does

not appear to have intense flashbacks, she believes that fact

supports her conclusion that he is not lying about his symptoms

because, if he were, he would probably describe “classic”

symptoms such as flashbacks.

     By the end of the second session, Dr. Gaby concluded that

she felt certain that she could diagnose Mr. Abu Ali with PTSD

and that the traumatic event that triggered it was being

tortured, both physically and psychologically.          She testified

that because of the serious nature of the charges against him,

she decided to come back for a third visit and perform a

Clinician Administered PTSD Test (hereinafter “CAPS test”), which

Dr. Gaby testified is the “gold standard” for screening people

for PTSD and helps to determine whether a person might be

eligible to participate in clinical research trials.           Through the

CAPS test, Dr. Gaby sought to produce a quantitative measure of

the severity of Mr. Abu Ali’s PTSD.         A score of 50 out of 136

points is the cutoff score below which a person is not selected

for participation in research trials.         Dr. Gaby testified that

she scored Mr. Abu Ali at 98, a “quite high score” indicating

that Mr. Abu Ali had severe PTSD.          The Court notes that the CAPS

test consists of the examiner asking the patient a series of

questions about the symptoms of PTSD and other conditions and

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asks the patient to identify if he or she has experienced the

symptom, and, if so, when and how often.

     On cross-examination, Dr. Gaby testified that PTSD diagnoses

are particularly susceptible to malingering - a person’s attempt

to fabricate a diagnosis for some secondary gain (e.g. financial

gain or a favorable legal outcome).        On direct examination, Dr.

Gaby testified that she was aware of the possible secondary gain

for Mr. Abu Ali if he is diagnosed as suffering from PTSD, but

that she is also aware of a possible secondary gain from her

interviews with people seeking asylum in the United States.            Dr.

Gaby testified that she never told Mr. Abu Ali that she had

diagnosed him with PTSD.      Dr. Gaby testified on cross-examination

that she does not “routinely do this work,” and this was the

first time she had examined someone charged with a felony and the

first time she has testified in a federal court in a criminal

case.   The government asked Dr. Gaby about two tests for

malingering - the MMPI and Sears tests - and Dr. Gaby testified

that they are not “gold standards,” although they are widely

used.   She did not use either test, and testified that the MMPI

is used by psychologists, not psychiatrists.

     Dr. Gaby testified on direct examination that Mr. Abu Ali

initially had trouble remembering the dates and times of events,

but that his version of the events themselves remained

consistent.    She said that by their second visit, Mr. Abu Ali had

“spent more time with his attorney” and was able to “get things

clearer in terms of time and space.”        In her report, Dr. Gaby

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noted that Mr. Abu Ali’s memory seemed to improve after talking

to his lawyers about the events.       Dr. Gaby said that Mr. Abu Ali

never indicated to her that his attorneys had told him the

substance of events.

       The government questioned Dr. Gaby at length about her

reliance on her oral interviews alone to diagnose Mr. Abu Ali.

Dr. Gaby acknowledged that she did not consult outside sources,

but testified that not doing so is “standard clinical practice.”

She testified that she did not seek to interview staff of the

detention center, including guards and nurses, because “it was

quite clear to me that I was not in charge of the process,” but

noted that they are not trained mental health experts, and that

their observations would likely not have been of much help to

her.    Dr. Gaby also acknowledged that she did not review other

records, consult outside collateral sources, or conduct

psychometric testing of Mr. Abu Ali.

       The Court notes that Dr. Gaby grew quite defensive on cross-

examination and appeared to be a bit frustrated with the detailed

questions about her findings.       Dr. Gaby apparently redefined the

term “excessive startle reflex” on the stand during her testimony

in a way that was not consistent with what she wrote in her

report.    Question 17 of the CAPS test asked a question about

hyperarousal symptoms and excessive startle reflex.           The CAPS

test guide “Learn More” suggests consideration of medical or

educational records, testing, and behavioral observations by

collateral sources.     Dr. Gaby did not look at Mr. Abu Ali’s back,

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and she did not seek to explore any external sources such as

prior medical reports of Mr. Abu Ali’s physical condition when he

was picked up by the United States in February 21, 2005, or

booked into the Alexandria Detention Center.



      Ahmed Omar Abu Ali:

      Mr. Ahmed Omar Abu Ali testified about the period from his

arrest in Medina, Saudi Arabia, in June, 2003, through his return

to the United States in February, 2005, and subsequent detention

in the United States.

      Mr. Abu Ali testified that in June, 2003, about ten minutes

after he had started a final exam, a man in plain clothes entered

his classroom and asked him for his identification.           He said that

he believed the man was a member of the university staff, and

showed him his ID.     The man asked Mr. Abu Ali to come with him.

Outside the classroom were five people.        They took his wallet,

address book, and cell phone.       He was led to a car, where he was

handcuffed.    Mr. Abu Ali said he did not resist, but asked

whether he was being arrested.       The people then took him to his

dorm room, and the Arresting Officer told the others, “take

everything.”    Mr. Abu Ali was then led back to the car and driven

to a detention facility.

      At the detention facility he was photographed and then

blindfolded.    Mr. Abu Ali testified that he asked, “What’s going

on?   Why am I being arrested?”      Mr. Abu Ali was repeatedly told,

“You know why.”    Mr. Abu Ali was taken to a room where Saudi

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officials began to question him.       Mr. Abu Ali was blindfolded,

shackled, and in handcuffs.

     At first, Mr. Abu Ali said, he was not helpful.           He said

that the first thing he asked for was to call the United States

Embassy, an attorney, and his parents.        In response, he was told,

“the Embassy is not going to help you - you have to help

yourself.”   At least four people questioned him in the room.            Mr.

Abu Ali said he asked what his legal status was, but was told

“you have to give your statement.”         Mr. Abu Ali refused to speak

to them.   On cross-examination, he testified that he “wanted the

Embassy to be on notice that I had been arrested.”

     After an hour or two (Mr. Abu Ali was not wearing a watch,

and all of his statements about the length of events while in

detention are his own estimates), he was taken to a cell, still

blindfolded, handcuffed, and in shackles.         The cell was

completely empty - it had no bed, mattress, or other furniture.

Mr. Abu Ali said “I just prayed to God - I didn’t do anything.”

He was allowed to use a bathroom, where he drank from the faucet.

After an hour or two, Mr. Abu Ali was taken back to the room,

where he was questioned again.       This began a pattern in which Mr.

Abu Ali “vaguely remember[s] that I would be taken back and forth

from interrogation to the cell” for either four or five sessions

of questioning during his first day of custody.          Mr. Abu Ali says

the Mabahith continued to try to get him to talk.          He was told,

“If you talk, we’ll try to get you a lawyer, and let you call

your parents.”    He did not see any other inmates, but sometimes

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he could hear other people yelling, which he took to be other

inmates being beaten.

     In the final session of the first day, Mr. Abu Ali’s

interrogators asked him whether he knew specific people, and

whether he knew about bombings in Riyadh.          At one point in the

last interrogation session of the first day, his blindfold was

taken off.   Mr. Abu Ali said he then saw the bruised face of a

man through a window in the door to the room.         The man was asked

if he knew Mr. Abu Ali, and he shook his head no, then was taken

away.   Mr. Abu Ali was not fed this day.        During that session,

the Saudis began hitting him, slapping him, punched him in the

stomach, and pulled his beard, ears, and hair.          After the last

session, he was not allowed to use the bathroom, even when Mr.

Abu Ali asked to wash up for prayers.

     The next day, Mr. Abu Ali was again questioned.           Mr. Abu Ali

testified that he told them he wanted to remain silent.           During

that session, he testified, the Saudis continued hitting him.            He

was asked, “Do you want a jury?”       He was then punched in the

stomach.   At one point, he was taken from the chair in which he

was sitting, and his handcuffs were handcuffed to a chain or

other handcuffs in the floor, leaving him with his knees to his

chest on the ground, hunched over with his head on his fists, and

his feet shackled.     Then someone began to strike him on the back

and to yell, “confess!”      He does not know what he was hit with,

or how many times.     Although he was blindfolded, on cross-

examination, Mr. Abu Ali said he could hear four different voices

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in the room, and that he thinks he was assaulted by only one

person.

     Mr. Abu Ali said it was “very painful” and that it was the

“first time I felt extreme pain.”          While he was being hit on the

back, people in the room kept telling him to “confess.”           When the

beating began, he was clad in an undershirt and long underpants.

At one point, his undershirt was torn off and he was struck on

his bare back.    Eventually, Mr. Abu Ali told them he would

cooperate.   The beating stopped, and he was taken back to his

cell.

     During cross-examination, Mr. Abu Ali said he cannot

remember what it felt like when he was hit and was unable to

describe what type of instrument was used to strike him.           He also

testified that he could not move to avoid the blows because he

was handcuffed to the floor.

     On cross-examination, Mr. Abu Ali acknowledged that he told

Dr. Saathoff that, although he does not know how many times he

was struck, he was hit twenty (20) or more times.          He said he

gave this as an estimate only because the doctor kept pressing

him to give a number, even a ballpark estimate.          Mr. Abu Ali told

Dr. Keller he was kicked in the stomach, but that, since he was

on the ground cuffed with his knees to his chest, he may have

been kicked in the ribs, not the stomach.

     In the cell, his blindfold, handcuffs, and shackles were

removed.   Someone brought him clothes and dates, and he was

allowed to use the bathroom.       Mr. Abu Ali says someone told him,

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“We’re your brothers.     We don’t want to hurt you.”       Someone also

brought a mattress, pillow, and blanket to his cell.           In the

bathroom, he touched his back, and when he took his hand away, it

had blood on it.     On cross-examination, Mr. Abu Ali said he does

not remember if the surface of his back felt raised or not, but

that he remembers it felt sore.       He also said that no doctor came

to his cell, and that he had to sleep on his stomach for “a

couple of weeks” because of the pain in his back.

     Several hours later, he was taken to another questioning

session.    This time, he was moved to the room without a

blindfold, but he was still handcuffed and shackled.           One

interrogator and a guard were in the room.         The man said, “Ahmed,

you’re our brother,” and told him no one wanted to hurt him.            Mr.

Abu Ali testified that he asked the interrogator, “How can you

say this after [what you did]?”       The man replied, “I didn’t do

anything.    I’m here to help you.”        Mr. Abu Ali testified that he

answered the man’s questions for three to four hours, then was

taken back to his cell.      Nothing was written down during that

session.    He was given a break in questioning for evening

prayers, then returned to his cell.         Mr. Abu Ali testified that

he felt “defeated” and “humiliated.”         On cross-examination, he

testified that about three or four hours passed between the time

he was whipped and when he began cooperating.

     On his third day of detention, the same interrogator again

questioned Mr. Abu Ali.      This time, the questioning included

writing down questions and answers.         Typically, the interrogator

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would ask a question and Mr. Abu Ali would write down an answer.

At some point, he was told that, under Saudi law, his hand or

foot could be cut off - or that he could be beheaded - if he was

found to be associated with the Riyadh bombings.          Mr. Abu Ali was

also told at some point to prepare himself to travel.

     In the late afternoon, Mr. Abu Ali was taken in a van to a

plane.   He was blindfolded, handcuffed, and shackled.          Mr. Abu

Ali felt that something was around him, but testified that he

could hear people around him talking, and felt that he was on a

commercial plane.

     The plane took Mr. Abu Ali to Riyadh.         There, he was taken

to a prison outside of Riyadh.       Upon arrival, he testified he was

photographed and taken straight to a cell.         On cross-examination,

Mr. Abu Ali said he did not receive a medical exam upon arriving

at the Riyadh jail, and that any document purporting to be the

report of such an exam at 11 p.m. on June 10 is a lie.           The cell

was “actually decent,” and had a bed, sink, and stool.           Dinner

was brought to him, and then he was taken to another room for

further questioning.

     After about a ten-minute walk, he entered a room and his

blindfold was removed.      He found himself in a conference where

the Captain and the Brigadier General were present.           Mr. Abu Ali

said he asked, “Why have I been transferred here?          I already told

you everything.”     The Captain answered, “We don’t believe you.”

     Mr. Abu Ali says he again asked to call the Embassy, an

attorney, and his parents, but was told, “No one knows where you

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are.    You have to cooperate.”     So, Mr. Abu Ali said, “I started

talking.”    Mr. Abu Ali denies telling the Brigadier General or

the Captain that he was afraid of being returned to the United

States.    The interrogation session lasted about five hours.          At

some point, Mr. Abu Ali told a pharmacist he had cuts and bruises

on his back when he got to the prison.        He was given painkillers,

but no other treatment.      After the questioning, Mr. Abu Ali was

returned to his cell, and he went to sleep.

       Mr. Abu Ali testified that for about a month, he was

interrogated every night, both orally and in writing.           He

described that month as “very intense.”        Although he would

sometimes say, “I have given you everything,” he said “I couldn’t

resist.”    Also, “Riyadh wasn’t as bad as Medina,” because he

wasn’t beaten and the food was much better.         Mr. Abu Ali

testified that “As you cooperate, it just gets better.”           On

cross-examination, Mr. Abu Ali testified that he was never struck

during interrogation sessions in Riyadh, although he was

sometimes shackled.     He received three meals per day and was

allowed to pray five times per day.

       On cross-examination, Mr. Abu Ali testified about the July

8, 2003, visit of consular officer Charles Glatz.          He said that

he did not tell Mr. Glatz that he was mistreated.          Asked why he

did not try to send a “distress signal” to Mr. Glatz, Mr. Abu Ali

said that when he told Mr. Glatz that he wanted to be “treated

like an American,” that was his “distress signal.”          Mr. Abu Ali

said that he asked to meet privately with Mr. Glatz, but that the

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Saudis told him “no.”     Mr. Abu Ali also testified that Mr. Glatz

told him, “I hope you’re not one of those people who want to

break my neck.”    Mr. Abu Ali says he told Mr. Glatz he was being

treated “excellent, kind, and humane” while the Mabahith official

was observing the visit.

       Mr. Abu Ali acknowledged on cross-examination that he lied

to Mr. Glatz during the consular visits when he said he not been

mistreated.    Mr. Abu Ali testified that he considered telling him

about his mistreatment when he was once alone with Mr. Glatz for

about five seconds, but that he did not because, “It’s not as

easy as you think it is.”

       On redirect examination, Mr. Abu Ali testified that it

seemed like the consular officer could not do anything to help

him.    Although Mr. Glatz once brought him a book and some

newspapers, he was unable to give Mr. Abu Ali a pen and paper.

He said that during his consular officer visit with Mr. Gilbert

Sperling, Mr. Abu Ali mostly just listened to Mr. Sperling.

During his consular officer visit with Mr. Hankins, Mr. Abu Ali

testified that when he told Mr. Hankins about his parents’

lawsuit and the possibility that he would be able to go home, Mr.

Hankins said, “I don’t know about that.”

       In September, 2003, he was visited in the Saudi prison by

FBI Special Agent Barry Cole.       Mr. Abu Ali testified that Agent

Cole brought him a letter from his parents and a picture of his

little brother, and told him that if he wanted to see his brother

again, he would have to cooperate.         Mr. Abu Ali also said that

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Agent Cole told him that Saudi Arabia was different from the

United States, and that there was no bureaucracy to go through.

Mr. Abu Ali testified that he told Agent Cole he wanted a lawyer.

Later that evening or morning, the Mabahith officers told him

that he was embarrassing them by not cooperating with the FBI.

Mr. Abu Ali reiterated that he refused to cooperate, and told the

Mabahith, “This is between me and my people.         You have nothing to

do with it.”

     On cross-examination, Mr. Abu Ali testified that he said

that he did not say anything to Agent Cole the first night about

being mistreated even though they were alone because Agent Cole

“threatened” him.     He also testified that during one meeting he

did tell Agent Cole that he had been mistreated, to which Agent

Cole replied, “Oh yeah?      I’m going to ask the General,” then left

the room and never returned.

     That night, Mr. Abu Ali says, he was taken from his cell in

the general population area of the prison to a solitary

confinement cell.     There, he was handcuffed to a chain hanging

from the ceiling and left standing up until the afternoon.

     Mr. Abu Ali was not questioned on the day after this

incident he says.     He testified that, the following day, Agent

Cole returned with Agent Luke Kuligoski.         Mr. Abu Ali says he

again asked for a lawyer and they told him he had three options:

(1) be tried in Saudi Arabia and be sentenced to life in prison,

(2) be tried in Saudi Arabia and in the United States, or (3) be

designated an “enemy combatant.”       Mr. Abu Ali says that Agent

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Kuligoski told him that, if he cooperated, they would try to get

him back home.

     On cross-examination, Mr. Abu Ali testified that on the

third night of questioning by the FBI officials, Agent Kuligoski

offered to take a letter from Mr. Abu Ali back to his parents, if

he wanted to write one.      Mr. Abu Ali wrote a letter, and Agent

Kuligoski read it and saw a sentence about Mr. Abu Ali being in

prison.   At that point, Agent Kuligoski said, “We’re going to try

to get you home.”     Mr. Abu Ali said on cross-examination that he

then added a sentence to the letter about Agent Kuligoski being a

“great person.”    He also wrote, “I am under no pressure,” of his

own volition simply because he decided to write it.           At one

point, Mr. Abu Ali was questioned by the Brigadier General in a

room with a one-way mirror for about 15 minutes.          During the

questioning, the Brigadier General left, then came back with

papers in his hand.

     On cross-examination, Mr. Abu Ali acknowledged telling Mr.

Glatz in October 2003 that he preferred to be tried in Saudi

Arabia, not the United States.       He also acknowledged asking Mr.

Glatz in November 2003 about renouncing his United States

citizenship.    He said that following his visit with the FBI in

September, he was “in an identity crisis” because although he

told them about being tortured, they “didn’t care.”           Mr. Abu Ali

said, “I wanted a way to get out of prison.         That’s all I want.”

He also testified that the Saudis had stopped torturing him, and

that he had no legal counsel and did not know what to do.            In

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addition, Mr. Abu Ali testified that the Saudi warden kept

telling him Mr. Abu Ali’s problem was “his blue passport” - his

American citizenship.     Mr. Abu Ali said that the warden told him

his case could be resolved more easily if he was not a United

States citizen.

      When asked on direct examination about his video confession,

Mr. Abu Ali testified that he did not know he was being

videotaped at the time.      Having since seen the video, he said he

“can’t explain” the video, because “that’s not how I behave,” and

“I look like I’m going nuts.”       On cross-examination, Mr. Abu Ali

acknowledged that during the video, without Mabahith direction or

orders, he spontaneously ad libbed about how he had not learned

to conceal his identity as a joke and pantomimed the action of

racking an assault rifle.      On re-direct examination, Mr. Abu Ali

testified that he had been interrogated every night for about

forty-seven (47) nights, and that he was very tired.           In

addition, before that session he was told by the Saudis that he

was going to be transferred to the general population, and that

reading the statement was one of the last things he would have to

do.   Mr. Abu Ali said, “I was looking forward to it.          When you’re

in prison, everything is relative . . . you stop thinking how you

would in the outside world.”       He said that just ending the

interrogation was a “big relief.”

      On cross-examination, Mr. Abu Ali acknowledged that once he

was on the FBI plane about to leave Saudi Arabia, he was given a

medical examination.     He also said that, although no Mabahith

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officials were on board, he did not tell the doctor about his

mistreatment.     Nor did he tell anyone during the lengthy flight

to the United States about his abuse in Saudi custody.           Mr. Abu

Ali said “It’s none of their business.”         On redirect examination,

Mr. Abu Ali said that he did not tell anyone on the flight back

to the United States about his mistreatment in Saudi custody

because they were FBI officials, so “I didn’t want to say

anything to them.     All I really cared about was that I was going

home.   I didn’t really even care about the charges at that time.”



      Dr. Gregory Saathoff:

      Dr. Gregory Saathoff, a psychiatrist who is a consultant to

the FBI, testified about his examination of Mr. Abu Ali in

September 2005 to evaluate his mental state and determine whether

he suffers from PTSD or depression.        He testified that on

September 10 and 11 of 2005, he visited Mr. Abu Ali in the

Alexandria Detention Center five (5) times, for a total of eleven

and a half (11.5) hours.      Dr. Saathoff concluded that Mr. Abu Ali

does not suffer from PTSD or any other mental illness.

      Dr. Saathoff testified that to effectively diagnose PTSD, it

is important to review all the data he can obtain in addition to

his own notes because a diagnosis of PTSD is almost entirely

dependent on a person’s subjective self-reporting.           He testified

that in addition to meeting with Mr. Abu Ali, he reviewed

information from the Alexandria Detention Center and interviewed

guards and nurses there.      In contrast to Dr. Gaby’s testimony,

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Dr. Saathoff testified that not only psychiatrists can recognize

startle responses.     He also testified about a range of

observations made by prison staff, such as that Mr. Abu Ali was

smiling when he first arrived at the Alexandria facility, that he

was jovial within a few days, and that he was very engaged in his

environment.    Although Dr. Gaby’s report indicated that Mr. Abu

Ali said he was very fearful of the guards because they remind

him of his Saudi captors, Dr. Saathoff said that guards told him

in his interviews that Mr. Abu Ali chats with them, gets along

with them, and asks favors of many of them - he even asked one

guard for legal advice.

      Dr. Saathoff also noted some inconsistencies in Mr. Abu

Ali’s account of his mistreatment, such as not mentioning that

his ears were pulled, even when the doctor asked him to be as

specific as possible about his mistreatment.          He also testified

that it is not unusual for inmates in solitary confinement to

feel some of the symptoms of PTSD, such as a sense of detachment.

In addition, Dr. Saathoff testified that a psychiatrist cannot

completely rule out malingering in a PTSD diagnosis based on a

person’s report of feeling shame alone, since inmates may feel

shame for a variety of reasons.        Dr. Saathoff concluded that is

was his opinion that Mr. Abu Ali does not suffer from PTSD.




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                              II. DISCUSSION

Motion to Suppress

      (1) “Involuntariness of Statements”

      Standard of Review

      The government has the burden of proving that a defendant’s

statement is voluntary by a preponderance of the evidence at a

pretrial suppression hearing.       United States v. Dodier, 630 F.2d

232, 236 (4th Cir. 1980) (citing United States v. Johnson, 495

F.2d 378, 382–83 (4th Cir. 1974)).         A statement is “involuntary”

under the Fifth Amendment only if it is “involuntary” within the

meaning of the Due Process Clause.         See Oregon v. Elstad, 470

U.S. 298, 304 (1985); United States v. Braxton, 112 F.3d 777, 780

(4th Cir. 1997).     For a statement to be involuntary under the Due

Process Clause, it must be “extracted by . . . threats or

violence”, or “obtained by . . . direct or implied promises” or

“the exertion of . . . improper influence.”          Hutto v. Ross, 429

U.S. 28, 30 (1976); Braxton, 112 F.3d at 780 (citing Hutto, 429

U.S. at 30); accord Colorado v. Connelly, 479 U.S. 157, 165

(1986).    “A confession is involuntary and subject to suppression

when induced by such duress or coercion, express or implied, that

the accused’s ‘will has been overborne and his capacity for self-

determination critically impaired.’” United States v. Wertz, 625

F.2d 1128, 1133-34 (4th Cir. 1980) (quoting Schneckloth v.

Bustamonte, 412 U.S. 218, 225 (1973)).         Statements by an accused

that are not “‘the product of a rational intellect and a free


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will’” are inadmissible as evidence.        Id. (quoting Mincey v.

Arizona, 437 U.S. 385, 398 (1978)).

      In the Fourth Circuit, to determine whether a statement is

“involuntary,” courts must examine the “totality of the

circumstances,” including a defendant’s individual

characteristics and background, the setting in which the

statement was obtained, and the details of the interrogation or

interview.    See Haynes v. Washington, 373 U.S. 503, 513-14

(1963); Braxton, 112 F.3d at 781; United States v. Elie, 111 F.3d

1135, 1143–44 (4th Cir. 1997); Wertz, 625 F.2d at 1133-34.            Among

the factors that courts may consider are (1) whether the officer

conducting the interrogation harmed or threatened to harm the

defendant if he or she did not answer the officer’s questions,

(2) whether the officer deprived the defendant of anything, (3)

whether the defendant was subjected to a lengthy period of

interrogation or isolation, and (4) whether the officer tried to

deceive the defendant.      See Elie, 111 F.3d at 1143 (internal

citations omitted).



      Analysis

      The Court finds that the government has demonstrated by a

“preponderance of the evidence” that any incriminating statements

allegedly made by the defendant were “voluntary” and not the

result of “gross abuse” or “inherently coercive conditions” and

therefore that the statements are admissible evidence for trial.



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The Court finds that the incriminating statements allegedly made

by the defendant were voluntary based on the “totality of the

circumstances” after:      having held a full 5-day pretrial

suppression hearing outside the presence of a jury; having heard

eight (8) days of Rule 15 foreign witness deposition testimony;

having heard four (4) days of in-court testimony; and having

thoroughly considered the written submissions and arguments of

the government and defense counsel.



      The Government’s Evidence of Voluntariness.

      The government presented witness testimony and other

evidence that support a finding that Mr. Abu Ali’s statements

were voluntary and not the product of torture.

      First, the Court finds that the testimony of the Arresting

Officer and the Lieutenant Colonel, who is the Warden at the

Medina detention facility, that Mr. Abu Ali was not tortured or

abused is credible.      Mr. Abu Ali and the Arresting Officer’s

testimony coincide in many respects prior to Mr. Abu Ali’s

detention in the Medina facility.          The Lieutenant Colonel was

questioned extensively by the government and by the defendant’s

counsel about any torture or abuse of Mr. Abu Ali at the Medina

facility.    This critical issue is a contested fact in the

defendant’s Motion to Suppress.        The Court has considered Mr. Abu

Ali’s testimony that he was abused at the Medina facility and, as

explained below, the Court finds that the Lieutenant Colonel’s



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testimony is unimpeached while the testimony of Mr. Abu Ali

raises questions that bear on the defendant’s credibility.

      Second, while no one expects that the Saudis would admit to

torturing Mr. Abu Ali, the Court finds that the testimony of the

Captain and the Brigadier General that Mr. Abu Ali was not

tortured or abused while in custody in Riyadh is credible as

well.    The Court finds that the Brigadier General’s testimony

that the interrogation of Mr. Abu Ali was conducted in the

absence of threats or torture is credible.         Mr. Abu Ali does not

claim that he was tortured or threatened into giving statements

during the interrogation in Riyadh, and the Brigadier General’s

testimony that he obtained these statements by winning Mr. Abu

Ali’s confidence and alleviating his fears seems credible to the

Court.    Likewise, the Court finds the Captain’s testimony

concerning Mr. Abu Ali’s physical condition, the nature of the

interrogation, and the absence of threats or torture against the

defedant to be credible.      The Captain denies using force against

Mr. Abu Ali or observing or being aware that Mr. Abu Ali had been

abused.    The Court credits this testimony and notes that Mr. Abu

Ali did not accuse the Captain of torturing him prior to securing

the statements at issue in the instant Motions.

      Third, if one carefully reviews the testimony of the

Arresting Officer, the Brigadier General, the Captain and the FBI

agents, Mr. Abu Ali’s claim about having been whipped to the

point of having blood on his back seems implausible in light of

certain behaviors that he exhibited in the time frame of June 11

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through 15, 2003 - immediately after the alleged whipping - that

do not coincide with how a recently beaten person would behave.

The Captain and the Brigadier General reported that Mr. Abu Ali

moved freely during the June 11 and 12, 2003, interviews.            Also,

U.S. law enforcement personnel observed Mr. Abu Ali on June 15,

2003, and did not observe any noticeable discomfort or

limitations in Mr. Abu Ali’s mobility.         Mr. Abu Ali testified

that after his brutal whipping, he was in such pain that he had

to sleep on his stomach for two weeks.         Well, two weeks after the

whipping of June 9 or 10, 2003, would certainly include June 15,

2003, and all of the evidence points to the fact that Mr. Abu Ali

was not experiencing the pain that he now claims.

      Finally, The Brigadier General and the Captain both

testified that during the June 11 and 12, 2003, interviews, Mr.

Abu Ali was primarily concerned with ensuring that the United

States did not know that he was in custody.          The FBI language

specialist, Mr. Machanaly, reported that when Mr. Abu Ali entered

the Saudi interrogation room for the June 15, 2003, interview,

which the FBI and Secret Service were permitted to observe, the

first thing Mr. Ali said was, “Did you tell the Americans I am

here?”   Mr. Machanaly heard the Brigadier General reassure Mr.

Abu Ali that the Saudi Government had not informed the United

States of his arrest.      It stretches credibility to think that a

United States citizen who had just been beaten and tortured days

before by foreign law enforcement officials would not want the

United States to know that he was in custody abroad and was being

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tortured.    This, too, raises serious questions about Mr. Abu

Ali’s claims of torture.

      In sum, when the Court considers the quality of the evidence

offered surrounding Mr. Abu Ali’s interrogation, the Court finds

that the government has met its burden of proof by a

preponderance of the evidence that the statements at issue were

voluntary and are therefore admissible.



      The Defendant’s Claim of Torture.

      The Court has taken notice of the defendant’s allegations of

torture and, if it could fully credit the defendant’s testimony,

the Court would find that the defendant was, in fact tortured.

In that instance, the Court would rule that the resulting

statements were involuntary.       However, the Court heard a great

deal of evidence during the suppression hearing and was able to

judge the credibility of the witnesses who testified therein,

including the defendant Mr. Abu Ali, and many questions remain

about the defendant’s allegations of torture.

      The Court has carefully and deliberately weighed all the

evidence presented by Mr. Abu Ali which supports his claim that

he was tortured by the Saudi Mabahith and that he gave false

confessions.    The Court, with great respect for Mr. Abu Ali’s

physicians, concludes that, based upon the quality of the

evidence presented, together with the difficulty of assessing a

diagnosis that is based primarily upon the patient’s own self-

reporting, the Court cannot accept the diagnosis of Mr. Abu Ali’s

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physicians without reservations.        In the end, judges, not

physicians, have to make the ultimate determination of the

credibility of all of the testimony.

      Many questions remain concerning Mr. Abu Ali’s story about

torture.    For example, there is a substantial dispute between the

medical professionals about whether the marks on Mr. Abu Ali’s

back are scars from torture or whether these marks are simply

pigment discolorations.3      Dr. Keller, Mr. Abu Ali’s expert

internist, said that he observed about seven to ten scars on Mr.

Abu Ali’s back which, in his view, evince scars from the beating

Mr. Abu Ali claims he suffered during interrogation in Medina.

      Conversely, Dr. Katz, the government-retained expert

dermatologist, offered a more guarded opinion.          Dr. Katz observed

vivid court photographs of Mr. Abu Ali’s back and the marks

depicted therein.     Dr. Katz testified that a scar is an

interruption of the skin which may be caused by intentional or

non-intentional trauma.      Dr. Katz stated that, in his opinion,

the marks depicted on Mr. Abu Ali’s back in the photograph were

not scars.    Dr. Katz also stated that a scar will usually show

some depression or elevation, and he noted that the marks on Mr.

Abu Ali did not show elevation or depression in the photographs.

In contrast, Dr. Keller actually palpated Mr. Abu Ali’s skin and


      3
      The Court is well aware that, in some instances,
individuals who are tortured do not show significant objective
evidence or signs of torture. In this case, the Court has been
sensitive to that fact, and, as such, has made its findings of
fact concerning Mr. Abu Ali’s allegations of torture based on all
of the evidence presented thus far.

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he said the skin containing the marks was smooth, not elevated or

depressed.

      It is important to bear in mind that Dr. Katz did not

examine Mr. Abu Ali.      Dr. Katz reviewed color photographs of Mr.

Abu Ali’s back and Dr. Keller’s report.         Dr. Katz reviewed Dr.

Keller’s report and noted that Dr. Keller referred to the marks

on the defendant’s back as “scars” but did not describe the scar.

Dr. Keller made no determination about whether it was hypotrophic

or atrophic, that is if there was thickening or flattening.

Further, when Dr. Keller actually palpated the scar, he only

described a change in the pigmentation of the skin.           Dr. Katz

noted that Dr. Keller did not describe a break in Mr. Abu Ali’s

skin or the location of the marks.         Dr. Katz testified that it is

very common to see hyper pigmentation and linear pigmentation in

the skin and that such conditions could be caused by superficial

breaks, scratches, or trauma.       Dr. Katz stated that darker

complected individuals are more prone to hypertrophic scarring

and that pigmentation would be increased in a person of Mr. Abu

Ali’s complexion.

      Dr. Katz stated that if the marks were caused by whipping or

other trauma, they would have a period of crusting which would go

on for a minimum of one and a half (1.5) to four (4) weeks, and

would be very painful and uncomfortable in response to pressure.

Dr. Katz stated that the marks on the defendant’s back are not

scars because they appear flat, and that there is no depression,

spreading, or thickening.       Dr. Katz concluded that it is unlikely

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that the scars would result from torture because they are all on

the upper back and not on his neck or side, they are linear,

parallel to each other, do not criss-cross, and because there is

no evidence of scarring.

      Dr. Katz reported that a scar caused by whipping would

bleed, then go through inflammation, tenderness to the touch,

crusting, scabbing, lose the scab, and finally scar.           This

process could occur over a period from one and a half (1.5) weeks

to three (3) to four (4) weeks.        The scars would be uncomfortable

to touch and applied pressure would cause pain.

       These disparate medical opinions, coupled with the Court’s

assessment of the Saudi officials’ statements and Mr. Abu Ali’s

testimony, preponderate in favor of the government’s evidence

that Mr. Abu Ali’s statements were voluntary.          The Court notes

that this dichotomy in medical information is significant because

Mr. Abu Ali claims he was whipped on June 10 or 11, 2003, in

Medina.    Witnesses from the FBI who observed Mr. Abu Ali in the

interrogation of June 15, 2003, did not observe Mr. Abu Ali

guarding his back or exhibiting any facial expression consistent

with pain.    According to FBI Agent Posto, when Mr. Abu Ali

entered the interrogation room he walked with a full gait, spoke

without seeming discomfort to the Brigadier General and Captain,

and readily followed directions to sit in a chair.           Mr.

Machalany, the FBI language analyst, reported that Mr. Abu Ali

sat and fidgeted in the chair.       Mr. Machalany reported that Mr.

Abu Ali did not grimace or show any facial signs of discomfort.

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The Brigadier General and the Captain reported, in their

interrogations of Mr. Abu Ali on June 11 and 12, 2003, that Mr.

Abu Ali sat comfortably, rocked, and swivelled in his chair.

      These reports concerning Mr. Abu Ali’s condition are

obviously inconsistent with what the medical professionals would

expect of a victim of a vicious whipping on the back.           It is

doubtful that a person with welts, bruises, or tender scars on

his back would be able to move his body in such a way that he

rocks his back against, or swivels around in, a chair.

      The Court has additional observations about Mr. Abu Ali’s

behavior that cause the Court to question the reliability of the

evidence.    The issue of whether Mr. Abu Ali has manifested

additional evidence of torture requires consideration of Dr. Lynn

Gaby and Dr. Keller’s opinion that Mr. Abu Ali suffers from PTSD

as a result of torture in Saudi Arabia.         The Court has considered

this testimony and the testimony of Dr. Richard Schwartz and Dr.

Gregory Saathoff as well.       Dr. Saathoff concludes that Mr. Abu

Ali does not suffer from PTSD and that Mr. Abu Ali is

malingering.    Dr. Schwartz conducted the physical examination of

Mr. Abu Ali’s whole body on the airplane on February 21, 2005,

and he did not observe any significant marks he would

characterize as scars on Mr. Abu Ali’s back.          Dr. Schwartz works

as a government consultant, and he is an emergency medicine

physician.    Emergency medical physicians deal with trauma of all

types on a daily basis, have to be observant to physical

conditions, and have to render snap diagnoses and treatment.

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      This is a very difficult factual question to resolve, and

the Court, with due respect for the professionals involved, must

reach an independent evaluation of the quality of the evidence

and make an independent judgment about whether this evidence

corroborates Mr. Abu Ali’s claim of torture.          The Court is not

persuaded that it should accept Dr. Gaby and Dr. Keller’s

diagnosis as the final judgment on the issue of torture for the

following reasons.

      First, the nature of the diagnosis of PTSD relies very

heavily upon the reporting ability of the patient.           Dr. Keller

and Dr. Gaby admit that their opinion that Mr. Abu Ali suffers

from PTSD is substantially based upon their interviews with Mr.

Abu Ali and his self reporting of his condition.          The Court has

had the opportunity to consider Mr. Abu Ali’s demeanor, his

ability to recall facts, to answer questions, and Mr. Abu Ali’s

behavior in the courtroom.       Mr. Abu Ali is an intelligent, well-

educated man with a rich and graphic vocabulary.

      The Court notes that Dr. Gaby reported in her medical report

that Mr. Abu Ali seemed at times to be reporting to her things

that his lawyer told him about the case.         Dr. Gaby reports that,

in her first interview with Mr. Abu Ali, he had difficulty

recalling events.     However, after, Mr. Abu Ali spent some time

with his lawyers, prior to Dr. Gaby’s next visit, it appeared to

her that Mr. Abu Ali was relying upon what his lawyers told him,

and his ability to recall things improved.



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      Dr. Gaby admits that she set forth in her report the basis

for her findings.     The Court notes that in the court hearing, Dr.

Gaby’s testimony was slightly, but significantly, distinct from

her report concerning the observable behavior of Mr. Abu Ali.

While the Court credits Dr. Gaby as a skilled clinician, the

Court was left wanting concerning several of her answers to basic

questions about the basis for her diagnosis.          Dr. Gaby seemed to

discount entirely the ability of detention center nurses or

deputies to report Mr. Abu Ali’s observable behavior.           For

example, Dr. Gaby reports that Mr. Abu Ali has a startle reflex

when events happen suddenly in his environment.          This finding is

based on Dr. Gaby’s observation that when people walked by in the

halls behind the interview room, Mr. Abu Ali looked around and

held his glaze longer than she might anticipate.          She denied that

a nurse who saw Mr. Abu Ali weekly would not be able to report

valuable information about whether Mr. Abu Ali jumped around, or

moved swiftly as if he was “startled” when the jail cell door

opened.

      Likewise, Dr. Gaby reported that Mr. Abu Ali did not

interact much with detention center guards because they reminded

Mr. Abu Ali of his former Saudi captors.         However, Dr. Saathoff

produced reports from Detention Center deputies who interact

daily with Mr. Abu Ali that seem contrary to what Dr. Gaby

reported about Mr. Abu Ali’s interaction with authorities.            For

all of these reasons, Dr. Gaby’s inquiry into Mr. Abu Ali’s

condition was deficient in the Court’s view.

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      Likewise, Dr. Keller’s evaluation, while seemingly more

extensive, at bottom, relies substantially upon the ability of

Mr. Abu Ali to self report.       Dr. Keller is an internist with

considerable experience with investigations of torture and human

rights violations.     Although the Court is not familiar with him

or his work, he appears to be well-regarded.          Dr. Keller’s

definitive judgment that the marks on Mr. Abu Ali’s back are

scars bears greater scrutiny.       While some of the things the Court

will point out may seem picky or inconsequential, as a fact

finder, this level of attention to detail bears on its final

judgment.

      Dr. Keller’s report does not describe the location of the

scars, or their dimensions in terms of depth or height.            Despite

the fact that the Court, in response to an “Emergency Motion”

filed by the defense, authorized the doctor conducting the

physical examination of Mr. Abu Ali to document any physical

marks or to videotape or photograph Mr. Abu Ali during his

examination, Dr. Keller did not make such a record.           In any

event, this Court cannot accept Dr. Gaby and Dr. Keller’s PTSD

diagnosis alone as sufficient evidence of torture because of the

significant questions that remain about the nature of the reports

and testimony of the physicians, the fact that the findings of

PTSD rely primarily upon Mr. Abu Ali’s self reports, and because

of his significant secondary gain issues.

      Also, Mr. Abu Ali’s own testimony and his demeanor cause the

Court some reservations.      It is not uncommon for the victim of

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such horrors to have difficulty recalling details of the event,

or to put them out of their mind.          However, while Mr. Abu Ali

dramatically recounted a brutal beating and humiliating

treatment, it is noteworthy that Mr. Abu Ali could not recall,

even by texture, shape, or dimension, what hit him.           Was it a

cylinder? Belt? Whip? Stick? Baseball bat?          Of course, he was

blindfolded and chained to the floor when the beating allegedly

occurred so he may not know the exact item used to hit him.

However, it seems to the Court that he could, at the very least,

provide some basic description of what the item might have been

based on how it felt to him.

      The Court has already said that it finds that Mr. Abu Ali is

intelligent, capable, and articulate.          The Court cannot discern

whether Mr. Abu Ali is sincere or just cunning.          Mr. Abu Ali’s

testimony agrees with the Arresting Officer up to his arrival at

the Medina jail.     Also, Mr. Abu Ali agrees in part with the

Brigadier General and the Captain about certain key moments

during the interrogation.

      Some aspects of Mr. Abu Ali’s testimony, in the Court’s

view, just do not flow logically.          For instance, if he was

interrogated in Medina and he confessed, it seems to the Court

that the Medina officers transporting Mr. Abu Ali to Riyadh for

additional questioning would bring the notes of the interrogation

so the next set of questioners could refer to and use them to

contradict the suspect during questioning.          It also seems to the

Court that the new interrogators would want to know what

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statements were already obtained so they could build upon them.

Mr. Abu Ali testified that the Riyadh interrogators did not have

the statement log from Medina, and they started questioning him

all over again as if they knew nothing.         The Brigadier General

and the Captain said they did not have any indication Mr. Abu Ali

was previously questioned or tortured.         The Brigadier General and

the Captain said they set out in the initial meetings trying to

win Mr. Abu Ali’s confidence so he would talk.          The Brigadier

General and the Captain say they started out the initial

questioning of Mr. Abu Ali by telling him that he was being

investigated for the Riyadh bombings and any association with Al-

Qaeda, and reassuring him that they would not turn him over to

the Americans.

         The Court has to accept some of what Mr. Abu Ali says at

face value.    On that basis, one can understand why he would not

tell United States consular officers at any time about his

complaints.    If he felt they could not get him a piece of paper

and a pen, it is no wonder he had little confidence that, if he

made a report of torture, any good would come of it.           However,

during his testimony, there were times where Mr. Abu Ali seemed

to deflect the question.      Mr. Abu Ali testified to the effect of,

“The consular officers asked me was I being abused?”           The Court

noted that once or twice Mr. Abu Ali’s responses sounded as if he

interpreted the Consul’s questions about abuse or mistreatment to

mean “Were you mistreated today?” as opposed to in the past or

generally.    It seems unlikely that one who had experienced any of

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the torture claimed by Mr. Abu Ali would be so coy in making such

a distinction.

      In sum, the Court is left with lingering questions

concerning the credibility of Mr. Abu Ali and his claim that he

was tortured.     In making its determination that the incriminating

statements allegedly made by the defendant are voluntary and

therefore admissible, the Court notes that it is not making a

judgment that the defendant is guilty or that the defendant has

been untruthful in any way; only that the government has met its

burden of showing by a preponderance of the evidence that the

incriminating statements were made voluntarily.

      However, this does not end the matter because, under the

law, the Court’s ruling today empowers Mr. Abu Ali to present

admissible evidence on the issue of the voluntariness of the

statements and his claim of torture to the jury as a contested

question of fact.     Under Fourth Circuit law concerning federal

prosecutions, the issue of voluntariness concerning the

incriminating statements will ultimately be submitted for

determination by the jury, and the defense and the government are

free to argue the issue to the jury at that juncture.           United

States v. Inman, 352 F.2d 954, 956 (4th Cir. 1965) (prescribing

the “Massachusetts Doctrine” for determining the voluntariness of

confessions in federal prosecutions in the Fourth Circuit, a rule

requiring that the issue of voluntariness ultimately be submitted

to a jury); accord Morris v. Boles, 386 F.2d 395, 402 (4th Cir.



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1967).    Ultimately, the jury will have to resolve this very

perplexing question.



   Torture Will Not Be Tolerated in the American Justice System

      Due to the serious nature of the allegations of torture and

mistreatment being made by the defendant, the Court would like to

make a very clear statement that torture of any kind is legally

and morally unacceptable, and that the judicial system of the

United States will not permit the taint of torture in its

judiciary proceedings.      This Court takes very seriously its

solemn duty and unwavering responsibility to ensure that the

human rights guarantees of the United States Constitution and of

those international documents on human rights to which the United

States is a signatory, including the U.N. Convention Against

Torture, are upheld in word, deed, and spirit.

      The Supreme Court has, in a number of cases, articulated the

outer limits of coercive government behavior and has stated very

clearly that such coercion is impermissible under the United

States Constitution and will not be left unredressed by our

courts.    Nowhere was the role of the United States judiciary as a

bulwark against the tyranny of torture and extreme government

coercion more clearly illustrated than in the case of Brown v.

Mississippi, 297 U.S. 278 (1936).

      In that case, a deputy sheriff, with the aid of a mob,

tortured several African American defendants into confessing to a

murder that they maintained they did not commit.          After one

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defendant initially proclaimed his innocence to the charges, the

mob, led by the deputy sheriff, went to his house and “hanged him

by a rope to the limb of a tree, and, having let him down, they

hung him again, and when he was let down the second time, and he

still protested his innocence, he was tied to a tree and

whipped.”    Brown, 297 U.S. at 281.       A day or two later, the

deputy and another man returned to the home of the defendant,

whose neck still clearly bore evidence of his recent hangings,

arrested him, and “severely whipped the defendant” until he

finally agreed to “confess to such a statement as the deputy

would dictate” before taking him to jail.          Id. at 281–82.

      The other two defendants were arrested and taken to the same

jail where they “were made to strip and . . . were laid over

chairs and their backs were cut to pieces with a leather strap

with buckles on it.”      Id. at 282.      The “whippings progressed and

were repeated” until the defendants “changed or adjusted their

confession in all particulars of detail so as to conform to the

demands of their torturers.”       Id.     The defendants were later

convicted of the crime to which they were forced to confess and

were sentenced to death.      Id. at 284.      Finally, unable to recount

the specifics of the further horrors visited upon the defendants

in securing their confessions, the Court in Brown simply stated

that the transcript of the trial read “more like pages torn from

some medieval account than a record made within the confines of a




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modern civilization which aspires to an enlightened

constitutional government.”       Id.

      In overturning those convictions and throwing out the

unlawfully obtained confessions, the Supreme Court articulated

clearly and authoritatively the role of the courts in protecting

the human and legal rights of all those made to confess through

acts of torture and extreme coercion.         As the Court stated,

“[t]he rack and torture chamber may not be substituted for the

witness stand.”     Id. at 285-86.      Moreover, in a passage that

bears repeating, the Court went on to say,



      “[T]he trial equally is a mere pretense where the state
      authorities have contrived a conviction resting solely upon
      confessions obtained by violence.        The due process clause
      requires that state action, whether through one agency or
      another, shall be consistent with the fundamental principles
      of liberty and justice which lie at the base of all our
      civil and political institutions.


      It would be difficult to conceive of methods more revolting
      to the sense of justice than those taken to procure the
      confessions of these [defendants], and the use of the
      confessions thus obtained as the basis for conviction and
      sentence was a clear denial of due process.”          Id. at 286
      (internal citations omitted).


      This Court shares the view of the Brown Court that torture,

and evidence obtained thereby, have no place in the American

system of justice (or of any nation for that matter), and the


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Court will continue to clearly and steadfastly assume its duty to

protect the human and legal rights of all who appear before it.



      (2) “Shocks the Conscience”

      Standard of Review

      The Supreme Court has consistently held that due process is

violated where government conduct is so egregious that it “shocks

the conscience” and violates the “decencies of civilized

conduct.”    County of Sacramento v. Lewis, 523 U.S. 833, 846

(1998) (quoting Rochin v. California, 342 U.S. 165, 172–73

(1952)).     According to the Supreme Court, the due process

guarantees of the Constitution were intended to prevent

government officials “from abusing [their] power, or employing it

as an instrument of oppression.”        Collins v. Harker Heights, 503

U.S. 115, 126 (1992) (quoting DeShaney v. Winnebago County Dept.

of Soc. Servs., 489 U.S. 189, 196 (1989) (quoting Davidson v.

Cannon, 474 U.S. 344, 348 (1986))).        Furthermore, courts have

suggested that the due process “shocks the conscience” standard

can apply to exclude coerced confessions, even when obtained by

agents of a foreign country.       United States v. Maturo, 982 F.2d

57, 60-61 (2d Cir. 1992).       Courts have pointed to interrogation

through torture as an example of “shocking” conduct warranting

the exclusion of any resulting statements.         See, e.g., United

States v. Nagelberg, 434 F.2d 585, 587 n.1 (2d Cir. 1970)

(suggesting that “rubbing pepper in the eyes” or other shocking


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conduct by a foreign officer could warrant the exclusion on due

process grounds of any admissions obtained as a result of such

conduct).



      Analysis

      For many of the same reasons that the Court finds the

defendant’s incriminating statements to have been voluntary, the

Court denies the Motion to Suppress because the Court also finds

that neither the conduct of U.S. nor Saudi law enforcement

officials in the arrest, detention, or interrogation of the

defendant “shocks the conscience” and therefore declines to

suppress the defendant’s incriminating statements.

      First, with regard to the Saudis, the defense claims that

their use of “such tactics as detention without charges,

prolonged solitary confinement, . . . gross physical and

psychological abuse, and repeated interrogation to elicit false

confessions shocks the conscience” and requires suppression of

any incriminating statements.       Def.’s Mem. in Supp. of Mot. to

Suppress at 18 (hereinafter “Mot. to Suppress”).          As noted,

however, while the Court has taken notice of the defendant’s

allegations of torture, many questions remain as to the

credibility and accuracy of those allegations (the Court has just

discussed those questions in great detail).

      Second, with regard to U.S. law enforcement officials, the

defense claims that they secured confessions from the defendant

by “calling on their Saudi agents to torture and confine him

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without charges for nearly 20 months” and argues that such

conduct similarly shocks the conscience and requires suppression.

Id.   However, the Court finds no credible evidence that U.S. law

enforcement officials used the Saudis as agents to torture and

confine the defendant or, as noted earlier, that the defendant

was ever actually tortured.       Therefore, the Court does not find

that the conduct of U.S. or Saudi law enforcement officials

“shocks the conscience” and accordingly declines to suppress the

defendant’s incriminating statements on this ground.



      (3) “Joint Venture/Saudi Agents/Miranda”

      Standard of Review

      It is well established that statements obtained by foreign

police in the absence of a Miranda warning are admissible, if

made voluntarily.     See, e.g., United States v. Yousef, 327 F.3d

56, 145 (2d Cir. 2003).      However, there are at least two

exceptions to this general rule of admissibility.           First, under

the “joint venture” doctrine, “statements elicited during

overseas interrogation by foreign police in the absence of

Miranda warnings must be suppressed whenever United States law

enforcement agents actively participate in questioning conducted

by foreign authorities.”      Id.; see also United States v. Bin

Laden, 132 F. Supp. 2d 168, 187 (S.D.N.Y. 2001) (citing line of

cases recognizing that a lack of Miranda warnings provided by

foreign officials “will still lead to suppression if U.S. law


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enforcement themselves actively participated in the

questioning”).     Second, non-Mirandized statements obtained

through interrogations by foreign officials are still subject to

suppression when “the conduct of foreign law enforcement

officials renders them agents, or virtual agents, of United

States officials.”      United States v. Karake, 281 F. Supp. 2d 302,

308 (D.D.C. 2003); Maturo, 982 F.2d at 61.



      Analysis

      The Court denies the Motion to Suppress because the Court

finds that:      (1) U.S. law enforcement officials did not act in a

“joint venture” with Saudi officials in the arrest, detention, or

interrogation of the defendant; and (2) Saudi law enforcement

officials did not act as agents of U.S. law enforcement

officials, and therefore Miranda warnings were not required.

      The evidence clearly demonstrates that the Saudi government

arrested the defendant on June 8, 2003, in Saudi Arabia based on

its own information and interest in interrogating the defendant

as a suspected member of the al-Faq’asi terrorist cell located in

Medina, Saudi Arabia.      Gov’t’s Opp. to Mot. to Suppress at 6

(hereinafter “Gov’t’s Opp.”).       The U.S. government did not learn

of the defendant’s arrest until after it occurred.           Furthermore,

the defense acknowledges that the FBI was not involved in the

interrogations of the defendant that occurred prior to June 15,

2003, in Medina and Riyadh, Saudi Arabia, when virtually all of

the incriminating statements sought to be suppressed were made,

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Mot. to Suppress at 14, or when the defendant made a handwritten

confession and videotaped reading of that confession on July 18

and 24, 2003, respectively.       Id.

       Concerning the FBI observations in June, the Brigadier

General and the Captain, in the Court’s view, do not support Mr.

Ali’s allegations that the June 15, 2003, interrogation

statements were the product of a “joint venture” between the

United States and Saudi Arabia.         The Court has considered the

testimony of FBI Special Agents Jocys, Posto, and language

specialist Machanaly concerning their participation in the

investigation and the June 15, 2003, interrogation of Mr. Abu

Ali.    After consideration of all the evidence, the Court finds

that the June 15, 2003, interrogation was not conducted to

circumvent Mr. Ali’s Fifth Amendment rights under Miranda v.

Arizona.    384 U.S. 436 (1966).

       The evidence is that the Saudi government arrested Mr. Abu

Ali in connection with the Riyadh bombing investigation.            Mr. Abu

Ali was detained pursuant to a Saudi government order.           The Saudi

government was in complete control of Mr. Abu Ali while in

custody.    Most importantly, the Saudi government controlled every

aspect of the questioning of Mr. Abu Ali on June 15, 2003, and

otherwise.    The FBI and Secret Service were permitted to submit a

list of questions for the interrogation to the Brigadier General

and the Captain.     The FBI and Secret Service were not allowed to

determine the content or the form of the questions to be asked

during the interrogation.       The Brigadier General determined what

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 questions would be asked, determined the form of the questions,

 and set the length of the interrogation.         The Saudi government

 refused to honor a request to allow the FBI and Secret Service to

 directly interview Mr. Abu Ali, and the FBI and the Secret

 Service did not directly question Mr. Abu Ali.

      In the end, the June 15, 2003, interrogation was observed

 through a one-way mirror by FBI and Secret Service agents.            The

 Court thinks both sides may agree that perhaps six questions

 submitted by the FBI and Secret Service were modified and used by

 the Brigadier General and the Captain during the session.           That

 said, the evidence demonstrates that the Saudis were, at all

 times, in control of the interrogation and that the FBI never

 “substantially participated” in the interrogation.          The only

 direct interrogation of the defendant conducted by U.S. officials

 was done by the FBI and the Secret Service in September, 2003.

 And while Miranda warnings were not given during that

 interrogation, the government has indicated that it does not seek

 to use any statements obtained during that interrogation in its

 case-in-chief.    Gov’t’s Opp. at 15 n.8.

      The Arresting Officer acknowledged, and the Court

 acknowledges, that the governments of Saudi Arabia and the United

 States, including the FBI, cooperate with each other in foreign

 terrorist investigations.      The U.S. and Saudi governments share

 intelligence information, conduct investigations of terrorist

 acts, and from time to time, the Saudi government will return

 individuals detained in Saudi Arabia to the United States.

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      The quality of the evidence at this hearing does not show a

 “joint venture” to arrest and detain Mr. Abu Ali.          The quality of

 the evidence produced at this hearing does not show that the

 United States was substantially involved in Mr. Abu Ali’s

 detention or interrogation or that it used the Saudi government

 as a surrogate to circumvent Mr. Abu Ali’s Fifth or Sixth

 Amendment rights.     The cooperation between Saudi and United

 States law enforcement and security agencies includes sharing

 information and periodically rendering suspects or individuals

 indicted in the United States and is well known.          For example, in

 the so-called “Virginia Paintball” case, three suspects who were

 indicted in this Court were arrested by Saudi officials, turned

 over to the United States, and flown back here for trial.           See

 United States v. Khan, 309 F. Supp. 2d 789, 797 (E.D. Va. 2004).

      Therefore, the Court denies the Motion to Suppress because

 it finds that U.S. and Saudi officials did not act in a “joint

 venture” and that Saudi officials did not act as “agents” of the

 United States in the arrest, detention, or interrogation of the

 Mr. Abu Ali.



      (4) “Search of Dorm Room in Medina, Saudi Arabia”

      Standard of Review

      “The Fourth Amendment and its exclusionary rule do not apply

 to the law enforcement activities of foreign authorities acting




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 in their own country.”      United States v. Busic, 592 F.2d 13, 23

 (2d Cir. 1978) (citing Mapp v. Ohio, 367 U.S. 643 (1961)).



      Analysis

      The Court denies the Motion to Suppress because the Court

 finds that Saudi law enforcement officials did not act in a

 “joint venture” with U.S. law enforcement officials when

 conducting its search of the defendant’s dorm room in Medina,

 Saudi Arabia, and therefore that the Fourth Amendment is

 inapplicable to that search.



      (5) “Search of Home in Falls Church, Virginia”

      Standard of Review

      It is well-established that in order for a search warrant to

 be valid under the Fourth Amendment, it must, among other things,

 “particularly describ[e] the place to be searched, and the

 persons or things to be seized.”       United States v. Robinson, 275

 F.3d 371, 381 (4th Cir. 2001) (quoting U.S. CONST . amend. IV).



      Analysis

      The Court denies the Motion to Suppress because it finds no

 evidence that the warrant underlying the search of the

 defendant’s home was unlawful or lacked probable cause.           The

 defense has put forth no evidence calling into question the

 validity of the search warrant executed on the defendant’s home,


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 save their contention that the warrant was based on the “unlawful

 interrogation” of the defendant.       This claim must fail because

 the Court has already ruled that the interrogations of the

 defendant were lawful and the statements resulting therefrom were

 voluntary and not the product of torture.         For the foregoing

 reasons, the Court denies the Motion to Suppress concerning the

 search of the defendant’s home in Falls Church, Virginia.



 Motion to Dismiss

      (6)“Shocks the Conscience” as to Detention and Interrogation

      Standard of Review

      The Supreme Court has consistently held that due process is

 offended when government conduct is so egregious that it “shocks

 the conscience” and violates the “decencies of civilized

 conduct.”    County of Sacramento v. Lewis, 523 U.S. 833, 846

 (1998) (quoting Rochin v. California, 342 U.S. 165, 172–73

 (1952)).    According to the Supreme Court, the due process

 guarantees of the Constitution were intended to prevent

 government officials “from abusing [their] power, or employing it

 as an instrument of oppression.”       Collins v. Harker Heights, 503

 U.S. 115, 126 (1992) (quoting DeShaney v. Winnebago County Dept.

 of Soc. Servs., 489 U.S. 189, 196 (1989) (quoting Davidson v.

 Cannon, 474 U.S. 344, 348 (1986))).        Furthermore, the Supreme

 Court has recognized that in certain, rare cases, “the conduct of

 law enforcement agents” may be “so outrageous that due process


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 principles would absolutely bar the government from invoking

 judicial processes to obtain a conviction.”         United States v.

 Russell, 411 U.S. 423, 431–32 (1973).



      Analysis

      For many of the same reasons that the Court finds the

 defendant’s incriminating statements to have been voluntary, the

 Court denies the Motion to Dismiss because the Court also finds

 that the neither conduct of U.S. nor Saudi law enforcement

 officials in the arrest, detention, or interrogation of the

 defendant “shocks the conscience” and therefore declines to

 divest itself of jurisdiction and dismiss the Indictment.



      (7) “Speedy Trial Act”

      Standard of Review

      The Speedy Trial Act, 18 U.S.C. § 3161(b), states, in

 relevant part:



      Any information or indictment charging an individual with

      the commission of an offense shall be filed within thirty

      days from the date on which such individual was arrested or

      served with a summons in connection with such charges. 18

      U.S.C. § 3161(b) (2000) (emphasis added).




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      Therefore, by the plain language of the statute, the so-

 called 30-day clock of the Speedy Trial Act does not begin to run

 unless and until a defendant is arrested or summoned in

 connection with a charge covered by the Act, namely, a federal

 charge.   Id.; see also United States v. Lee, 818 F.2d 302, 305

 (4th Cir. 1987) (“[S]ection 3161(b) requires . . . a federal

 arrest upon a federal charge.”).



      Analysis

      The Court denies the Motion to Dismiss because the

 government complied with the Speedy Trial Act since the criminal

 Indictment against the defendant was filed prior to his being

 taken into federal custody on federal charges, and therefore was

 filed within thirty (30) days of his arrest on federal charges as

 required by the statute.      Federal charges were first filed

 against the defendant on February 3, 2005, when a grand jury

 returned a criminal indictment.       The defendant was taken into

 federal custody in connection with those charges on February 21,

 2005.   Therefore, the Indictment was filed within thirty (30)

 days of the defendant’s arrest on federal charges and so met the

 requirements of the Speedy Trial Act.

      The defense argues that the Speedy Trial Act was triggered

 on three separate occasions.       First, they claim it was “triggered

 on June 8, 2003, when [the defendant] was arrested in Saudi

 Arabia at the behest of the United States.”         Def.’s Mot. to

 Dismiss at 19–20 (hereinafter “Mot. to Dismiss”).          This claim

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 must fail because, as the Court has found, the Saudis arrested

 the defendant for their own purposes and did not act in a “joint

 venture” with, or as agents of, U.S. law enforcement officials.

      Second, the defense claims the statute was triggered by

 “June 15, 2003, when it is clear that a joint-venture to

 interrogate and detain him existed between the Saudis and the

 United States.”    Id. at 20.    Again, the Court has found, based on

 the evidence, that no “joint venture” existed between the U.S.

 and the Saudis with respect to the defendant’s arrest, detention,

 or interrogation at this or any other juncture, and so this claim

 must fail.

      Third, the defense argues that a May 10, 2004, U.S. State

 Department cable reporting a Saudi Colonel’s statement that “Abu

 Ali could be rendered to American authorities at any time if the

 USG [U.S. Government] made a formal request” is evidence that the

 defendant was being held as of that date “at the request” of the

 United States.    Mot. to Dismiss at 22.      This claim also must fail

 both because it evinces little more than routine prosecutorial

 cooperation between two sovereigns and because of other evidence

 that the Court has considered in which U.S. officials

 specifically and expressly request that the defendant not be held

 for purposes of the U.S. government.        For the foregoing reasons,

 the Court denies the Motion to Dismiss.




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      (8) “Sixth Amendment Right to Speedy Trial”

      Standard of Review

      The Sixth Amendment provides that “[i]n all criminal

 prosecutions, the accused shall enjoy the right to a speedy

 public trial . . . .”     U.S. CONST . amend. VI.     As with the Speedy

 Trial Act, the Sixth Amendment right to a speedy trial does not

 attach until the defendant has been indicted or arrested.           See

 Doggett v. United States, 505 U.S. 647, 655 (1992); United States

 v. Thomas, 55 F.3d 144, 148 (4th Cir. 1995).         Based on a plain

 reading of the Amendment, the Sixth Amendment right to speedy

 trial “attaches only when a formal criminal charge is instituted

 and a criminal prosecution begins.”        United States v. MacDonald,

 456 U.S. 1, 6 (1982).     Likewise, an arrest or indictment by one

 sovereign does not trigger the speedy trial guarantee of the

 Sixth Amendment with relation to subsequent indictments by

 another sovereign.     See MacDonald, 456 U.S. at 10 n.11.



      Analysis

      The Court denies the Motion to Dismiss because the Sixth

 Amendment right to speedy trial does not attach until the

 defendant has been indicted or arrested, and the defendant has

 not been prejudiced by any pretrial delay since the time of his

 indictment on federal charges on February 3, 2005, and his

 subsequent arrest on February 21, 2005.




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      (9) “Prosecutorial Vindictiveness”

      Standard of Review

      In order to establish prosecutorial vindictiveness, “a

 defendant must show, through objective evidence, that:           (1) the

 prosecutor acted with genuine animus toward the defendant and (2)

 the defendant would not have been prosecuted but for that

 animus.”   United States v. Wilson, 262 F.3d 305, 314 (4th Cir.

 2001). Also, the defendant must demonstrate that the charges were

 brought solely to penalize him, and could not have been justified

 as a proper exercise of prosecutorial discretion.          See United

 States v. Goodwin, 457 U.S. 368, 372, 380 n.12 (1982).

      If the defendant is unable to prove that the prosecution was

 vindictive using direct evidence, he may present other evidence

 to establish a “presumption of vindictiveness” to demonstrate

 that the circumstances of the prosecution “pose a realistic

 likelihood of vindictiveness.”       Wilson, 262 F.3d at 314 (quoting

 Blackledge v. Perry, 417 U.S. 21, 27 (1974) (internal quotations

 omitted)).    However, because prosecutors are given such broad

 discretion in charging decisions, such a presumption of

 vindictiveness will rarely, if ever, be applied to a prosecutor’s

 pre-trial decisions.     Id. at 315 (citing Goodwin, 457 U.S. at

 381).   The evidentiary threshold that a defendant must reach to

 overcome the presumption of prosecutorial regularity, and thus to

 establish a presumption of vindictive prosecution, is

 significant.    Id.


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      Analysis

      The Court denies the Motion to Dismiss because the current

 prosecution is within the prosecutorial discretion of the

 government and because the defendant has not advanced sufficient

 evidence to establish prosecutorial vindictiveness on the part of

 the government.

      The defendant argues that the current prosecution against

 him was motivated by his parents’ filing of a habeas petition on

 his behalf in the United States District Court for the District

 of Columbia.    The defense maintains that because that Court

 issued a discovery order adverse to the government in December

 2004, and the grand jury returned its indictment in the present

 case in early February 2005, the prosecution was presumptively

 vindictive.

      As noted, federal prosecutors have broad discretion in

 charging and other pretrial decisions to which a presumption of

 vindictiveness will rarely, if ever, be applied.          After having

 considered the defendant’s arguments on this point and in light

 of the high evidentiary threshold faced by the defendant, the

 Court finds that the current prosecution is not presumptively

 vindictive and denies the Motion to Dismiss.




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                              III. CONCLUSION

      At the end of the day, the judgment the Court has to make as

 a fact finder is to determine the credibility and the quality of

 the evidence concerning a fact in dispute.         The critical inquiry

 is whether the government has come forward with sufficient

 evidence to show by a preponderance of the evidence that the

 statements allegedly obtained from Mr. Abu Ali were voluntary.

 The Court finds that the government has met its burden of proof

 to offer these statements into evidence because the Court finds

 the statements to be voluntary.

      The Court has considered the testimony of Saudi government

 officials including the Arresting Officer, the Warden, the

 Brigadier General, and the Captain.        In making this judgment, the

 Court is mindful that there have been news reports accusing the

 Saudi government of engaging in and condoning torture or human

 rights violations.     Whatever those reports may be, the Court had

 an opportunity to observe the witnesses and to weigh their

 credibility in this particular case.        The testimony concerning

 Mr. Abu Ali’s arrest and initial detention sound like proper

 arrest procedures, and there is no credible evidence that he was

 beaten or mutilated.     The Court is very familiar with unlawful

 police abuse of suspects and with police officers who abuse

 power.   However, the evidence in this case does not support a

 judgment that the behavior of the Saudi government officials

 “shocks the conscience” or that their testimony lacks sufficient

 credibility to be submitted to a jury.        The Court is not

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 pronouncing these witnesses to be truthful.         Rather, the Court is

 making a judgment that, in weighing the issue of the

 voluntariness of Mr. Abu Ali’s statements, the testimony of these

 witnesses must be considered by the jury.

      The Court finds that the government has demonstrated by a

 “preponderance of the evidence” that any incriminating statements

 allegedly made by the defendant were “voluntary” and not the

 result of “gross abuse” or “inherently coercive conditions” and

 therefore that the statements are admissible evidence for trial.

 The Court finds that the incriminating statements allegedly made

 by the defendant were voluntary based on the “totality of the

 circumstances” after:     having held a full 5-day pretrial

 suppression hearing outside the presence of a jury; having heard

 eight (8) days of Rule 15 foreign witness deposition testimony;

 having heard four (4) days of in-court testimony; and having

 thoroughly considered the written submissions and arguments of

 the government and defense counsel.

      The Court has taken notice of the defendant’s allegations of

 torture and, if it could fully credit the defendant’s testimony,

 the Court would find that the defendant was, in fact tortured,

 and would rule that the resulting statements were involuntary.

 However, the Court heard a great deal of evidence during the

 suppression hearing and was able to judge the credibility of the

 witnesses who testified therein, including the defendant Mr. Abu

 Ali, and many questions remain about the defendant’s allegations

 of torture.    As previously stated, the Court takes very seriously

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 its duty and responsibility to ensure that statements and

 evidence obtained through torture find no place in the American

 justice system, and the Court’s thorough and meticulous

 consideration and review of all of the facts presented in the

 case thus far were conducted in light of that weighty

 responsibility.

      However, the Court’s ruling today does not end the matter as

 it empowers Mr. Abu Ali to present admissible evidence on the

 issue of the voluntariness of the statements and his claim of

 torture to the jury as a contested question of fact.           Under

 Fourth Circuit law concerning federal prosecutions, the issue of

 voluntariness concerning the incriminating statements will

 ultimately be submitted for determination by the jury, and the

 defense and the government are free to argue the issue to the

 jury at that juncture.      United States v. Inman, 352 F.2d 954, 956

 (4th Cir. 1965) (prescribing the “Massachusetts Doctrine” for

 determining the voluntariness of confessions in federal

 prosecutions in the Fourth Circuit, a rule requiring that the

 issue of voluntariness ultimately be submitted to a jury); accord

 Morris v. Boles, 386 F.2d 395, 402 (4th Cir. 1967).          In the end,

 the jury will have to resolve this very perplexing question.




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      For all of the foregoing reasons, it is hereby

      ORDERED that the Defendant Ahmed Omar Abu Ali’s Motion to

 Suppress is DENIED.     It is further

      ORDERED that the Defendant Ahmed Omar Abu Ali’s Motion to

 Dismiss is DENIED.



      The Clerk is directed to forward a copy of this Order to

 counsel of record.

      ENTERED this ___25th____ day of October, 2005.


                                              /s/
                                         _____________________________
                                         Gerald Bruce Lee
                                         United States District Judge

 Alexandria, Virginia
 10/25/05




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